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                  EXHIBIT A-1
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                                                                                           66
Fulton County Superior Court                         INDICTMENT
**F|LED** CA                ,
                                                                                  £375 Mozzfee
 Date: August 14, 2023
 Che Alexander, Clerk of Court
                                                  Clerk No.   wqé/7
                                         FULTON SUPERIOR COURT

         THE STATE OF GEORGIA                        1    VIOLATION OF THE GEORGIA RICO
                                                          (RACKETEER INFLUENCED AND CORRUPT
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                                      21   CRIMINAL ATTEMPT TO COMMIT
                                           INFLUENCUYG WITNESSES
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                                      22   CRIMINAL ATTEMPT TO COMMIT
                                           FALSE STATEMENTS AND mums
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                                           BY PUBLIC OFFICER
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                                      25   FALSE STATEMENTS AND WRITINGS    '


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                        33   CONSPIRACY TO CONIMIT ELECTION FRAUD
                             O.C.G.A. §§ 21-2-603 & 21-2-574

                        34   CONSPIRACY To COMMIT
                             COMPUTER THEFT
                             O.C.G.A. §§ 1648 & 16993(a)

                        35   CONSPIRACY TO COMlVIIT
                             COMPUTER TRESPASS
                             O.C.G.A. §§ 16-4-8 & 16-9-93(b)

                        36   CONSPIRACY TO COMIVIIT
                             COMPUTER INVASION OF PRIVACY
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                        37   CONSPIRACY TO DEFRAUD TIE STATE
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                                         41     PERJURY
                                                o.c.G.A. § 161070(a)


                                                    'Z          BILL

                                                                                     2023




                                                 5%
                                                                   Jury Foreperson




                                                  FANI T. WILLIS, District Attorney


The Defendant waives copy of      The Defendant waives copy of           The Defendant waives copy of
indictment, list of witnesses,    indictment, list of witnesses,         indictment, list of witnesses,
formal arraignment and pleads     formal arraignment and pleads          formal arraignment and pleads
            Guilty.                           Guilty.                             Guilty.


Defendant                         Defendant                              Defendant



Attorney for Defendant            Attorney for Defendant                 Attorney for Defendant


Assistant District Attorney       Assistant District Attorney            Assistant District Attorney

This        day of            ,   This     day of          ,             This     day of          ,




                                                     4
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The Defendant waives copy of      The Defendant waives copy of     The Defendant waives copy of
indictment, list of witnesses,    indictment, list of witnesses,   indictment list of witnesses,
formal arraignment and pleads     formal arraignment and pleads    formal arraignment and pleads
            Guilty.                        Guilty.                             Guilty.


Defendant                         Defendant                        Defendant



Attorney for Defendant            Attorney for Defendant           Attorney for Defendant


Assistant District Attorney       Assistant District Attorney      Assistant District Attorney

This        day of                This     day of          ,       This     day of          ,




The Defendant waives copy of      The Defendant waives copy of     The Defendant waives copy of
indictment, list of witnesses,    indictment, list of witnesses,   indictment, list of witnesses,
formal arraignment and pleads     formal arraignment and pleads    formal arraignment and pleads
         Guilty.                              Guilty.                          Guilty.


Defendant                         Defendant                        Defendant



Attorney for Defendant            Attorney for Defendant           Attorney for Defendant


Assistant District Attorney       Assistant District Attorney      Assistant District Attorney

This        day of                This     day of          ,       This     day of



The Defendant waives copy of      The Defendant waives copy of     The Defendant waives copy of
indictment, list of witnesses,    indictment, list of witnesses,   indictment, list of witnesses,
formal arraignment and pleads     formal arraignment and pleads    formal arraignment and pleads
            Guilty.                           Guilty.              ____        Guilty.


Defendant                         Defendant                        Defendant



Attorney for Defendant            Attorney for Defendant           Attorney for Defendant


Assistant District Attorney       Assistant District Attorney      Assistant District Attorney

This      day of              ,   This     day of          ,       This     day of          ,




                                                    5
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The Defendant waives copy of     The Defendant waives copy of     The Defendant waives copy of
indictment, list of witnesses,   indictment, list of witnesses,   indictment, list of witnesses,
formal arraignment and pleads    formal arraignment and pleads    formal arraignment and pleads
            Guilty.                          Guilty.                          Guilty.


Defendant                        Defendant                        Defendant



Attorney for Defendant           Attorney for Defendant           Attorney for Defendant


Assistant District Attorney      Assistant District Attorney      Assistant District Attorney

This        day of               This     day of          ,       This     day of          ,




The Defendant waives copy of     The Defendant waives copy of     The Defendant waives copy of
indictment, list of witnesses,   indictment, list of witnesses,   indictment, list of witnesses,
formal arraignment and pleads    formal arraignment and pleads    formal arraignment and pleads
            Guilty.                          Guilty.                          Guilty.


Defendant                        Defendant                        Defendant



Attorney for Defendant           Attorney for Defendant           Attorney for Defendant


Assistant District Attorney      Assistant District Attorney      Assistant District Attorney

This        day of               This     day of          ,       This     day of          ,




The Defendant waives copy of     The Defendant waives copy of     The Defendant waives copy of
indictment, list of witnesses,   indictment, list of witnesses,   indictment, list of witnesses,
formal arraignment and pleads    formal arraignment and pleads    formal arraignment and pleads
            Guilty.                       Guilty.                          Guilty.


Defendant                        Defendant                        Defendant



Attorney for Defendant           Attorney for Defendant           Attorney for Defendant


Assistant District Attorney      Assistant District Attorney      Assistant District Attorney

This        day of               This     day of          ,       This     day of          ,




                                                   6
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The Defendant waives copy of      The Defendant waives copy of     The Defendant waives copy of
indictment, list of witnesses,    indictment, list of witnesses,   indictment, list of witnesses,
formal arraignment and pleads     formal arraignment and pleads    formal arraignment and pleads
            Guilty.                           Guilty.                          Guilty.


Defendant                         Defendant                        Defendant



Attorney for Defendant            Attorney for Defendant           Attorney for Defendant


Assistant District Attorney       Assistant District Attorney      Assistant District Attorney

This        day of                This     day of           ,      This     day of          ,




The Defendant waives copy of      The Defendant waives copy of     The Defendant waives copy of
indictment, list of witnesses,    indictment, list of witnesses,   indictment, list of witnesses,
formal arraignment and pleads     formal arraignment and pleads    formal arraignment and pleads
            Guilty.                           Guilty.                          Guilty.


Defendant                         Defendant                        Defendant



Attorney for Defendant            Attomey for Defendant            Attorney for Defendant


Assistant District Attorney       Assistant District Attorney      Assistant District Attorney

This        day of                This     day of          ,       This     day of          ,




The Defendant waives copy of      The Defendant waives copy of     The Defendant waives copy of
indictment, list of witnesses,    indictment, list of witnesses,   indictment, list of witnesses,
formal arraignment and pleads     formal arraignment and pleads    formal arraignment and pleads
         Guilty.                              Guilty.                          Guilty.


Defendant                         Defendant                        Defendant



Attorney for Defendant            Attorney for Defendant           Attorney for Defendant


Assistant District Attorney       Assistant District Attorney      Assistant District Attorney

This      day of              ,   This     day of          ,       This     day of          ,




                                                    7
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The Defendant waives copy of      The Defendant waives copy of     The Defendant waives copy of
indictment, list of witnesses,    indictment, list of witnesses,   indictment, ist of witnesses,
formal arraignment and pleads     formal arraignment and pleads    formal arraignment and pleads
            Guilty.                           Guilty.                          Guilty.


Defendant                         Defendant                        Defendant



Attorney for Defendant            Attorney for Defendant           Attorney for Defendant


Assistant District Attorney       Assistant District Attorney      Assistant District Attorney

This        day of                This     day of                  This     day of          ,




The Defendant waives copy of      The Defendant waives copy of     The Defendant waives copy of
indictment, list of witnesses,    indictment, list of witnesses,   indictment, list of witnesses,
formal arraignment and pleads     formal arraignment and pleads    formal arraignment and pleads
            Guilty.                           Guilty.                          Guilty.


Defendant                         Defendant                        Defendant



Attorney for Defendant            Attorney for Defendant           Attorney for Defendant


Assistant District Attorney       Assistant District Attorney      Assistant District Attorney

This        day of            ,   This     day of          ,       This     day of          ,




The Defendant waives copy of      The Defendant waives copy of     The Defendant waives copy of
indictment, list of witnesses,    indictment, list of witnesses,   indictment, list of witnesses,
formal arraignment and pleads     formal arraignment and pleads    formal arraignment and pleads
            Guilty.                        Guilty.                 __       Guilty.


Defendant                         Defendant                        Defendant



Attorney for Defendant            Attorney for Defendant           Attorney for Defendant


Assistant District Attorney       Assistant District Attorney      Assistant District Attorney

This      day of              ,   This     day of          ,'      This     day of          ,
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STATE OF GEORGIA, COUNTY OF FULTON

IN THE SUPERIOR COURT OF SAID COUNTY

THE GRAND JURORS, selected, chosen, and sworn for the County of Fulton, to wit:


                               1. ROBERT WELLS, Foreperson      14. GREGORY PETRALIA
                               2. ASHLEY MELVIN, Asst. FP       15. JENNIFER PRICE
                                                                16. GEORGE PRINGLE
                               4. JULIA DECREDICO, Asst. Sec.   17. PAVAN PULAVARTY
                               5. ERLE ARNOLD                   18. FRANEEN SARIF
                               6. DANIELLE BROWN                19. EMMA ST. JOHN
                               7. CAROL DICK                    20. VLADIMIR TCHAKAROV
                               8. KATHY GOLD                    21. CEDRIC TRICE
                               9. WILLIS HARDY                  22. ESTHER UDOJI
                               10. BRENDA HART                  23. MARCUS WELBORN
                               11. ANTIONETI'E HUDSON
                               12. lLE LIN                      25. KATHLEEN CHEN
                               13. MAX MORTENSEN




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        The Grand Jurors aforesaid, in the name and behalf of the citizens of Georgia, do hereby
charge and accuse:

                                DONALD JOHN TRUMP,
                         RUDOLPH WILLIAM LOUIS GIULIANI,
                              JOHN CHARLES EASTMAN,
                             MARK RANDALL MEADOWS,
                             KENNETH JOHN CI-IESEBRO,
                              JEFFREY BOSSERT CLARK,
                                 JENNA LYNN ELLIS,
                              RAY STALLINGS SMITH III,
                               ROBERT DAVID CHEELEY,
                                 MICHAEL A. ROMAN,
                                DAVID JAMES SHAFER,
                           SHAWN MICAH TRESI-IER STILL,
                              STEPHEN CLIFFGARD LEE,
                        HARRISON WILLIAM PRESCOTT FLOYD,
                                     TREVIAN C. KUTTI,
                              SIDNEY KATHERINE POWELL,
                              CATHLEEN ALSTON LATHAM,
                               SCOTT GRAHAM HALL, and
                                   MISTY HAMPTON
with the offense of VIOLATION OF TI-IE GEORGIA RICO (RACKETEER
INFLUENCED AND CORRUPT ORGANIZATIONS) ACT, O.C.G.A. § 16-14-4(c), for the
said accused, individually and as persons concerned in the commission of a crime, and together
with unindicted co-conspirators, in the State of Georgia and County of Fulton, on and between
the 4th day of November 2020 and the 15th day of September 2022, while associated with an
enterprise, unlawfully conspired and endeavored to conduct and participate in, directly and
indirectly, such enterprise through a pattern of racketeering activity in violation of O.C.G.A. §
16-14-4(b), as described below and incorporated by reference as if ﬁllly set forth herein, contrary
to the laws of said State, the good order, peace, and dignity thereof;




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                                       INTRODUCTION

       Defendant Donald John Trump lost the United States presidential election held on

November 3, 2020. One of the states he lost was Georgia. Trump and the other Defendants

charged in this Indictment refused to accept that Trump lost, and they knowingly and willfully

joined a conspiracy to unlawfully change the outcome of the election in favor of Trump. That

conspiracy contained a common plan and purpose to commit two or more acts of racketeering

activity in Fulton County, Georgia, elsewhere in the State of Georgia, and in other states.




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                                      THE ENTERPRISE

       At all times relevant to this Count of the Indictment, the Defendants, as well as others not

named as defendants, unlawfully conspired and endeavored to conduct and participate in a

criminal enterprise in Fulton County, Georgia, and elsewhere. Defendants Donald John Trump,

Rudolph William Louis Giuliani, John Charles Eastman, Mark Randall Meadows, Kenneth John

Chesebro, Jeffrey Bossert Clark, Jenna Lynn Ellis, Ray Stallings Smith III, Robert David

Cheeley, Michael A. Roman, David James Shafer, Shawn Micah Tresher Still, Stephen Cliffgard

Lee, Harrison William Prescott Floyd, Trevian C. Kutti, Sidney Katherine Powell, Cathleen

Alston Latham, Scott Graham Hall, Misty Hampton, unindicted co-conspirators Individual l

through Individual 30, and others known and unknown to the Grand Jury, constituted a criminal

organization whose members and associates engaged in various related criminal activities

including, but not limited to, false statements and writings, impersonating a public ofﬁcer,

forgery, ﬁling false documents, inﬂuencing witnesses, computer theft, computer trespass,

computer invasion of privacy, conspiracy to defraud the state, acts involving theft, and perjury.

       This criminal organization constituted an enterprise as that term is deﬁned in O.C.G.A. §

l6-14-3(3), that is, a group of individuals associated in fact. The Defendants and other members

and associates of the enterprise had connections and relationships with one another and with the

enterprise. 'The enterprise constituted an ongoing organization whose members and associates

functioned as a continuing unit for a common purpose of achieving the objectives of the

enterprise. The enterprise operated in Fulton County, Georgia, elsewhere in the State of Georgia,

in other states, including, but not limited to, Arizona, Michigan, Nevada, New Mexico,

Pennsylvania, and Wisconsin, and in the District of Columbia. The enterprise operated for a

period of time sufﬁcient to permit its members and associates to pursue its objectives.




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                     MANNER AND METHODS OF THE ENTERPRISE

        The manner and methods used by the Defendants and other members and associates of

the enterprise to further the goals of the enterprise and to achieve its purposes included, but were

not limited to, the following:

        1.   False Statements to and Solicitation of State Legislatures

        Members of the enterprise, including several of the Defendants, appeared at hearings in

Fulton County, Georgia, before members of the Georgia General Assembly on December 3,

2020, December 10, 2020, and December 30, 2020. At these hearings, members of the enterprise

made false statements concerning fraud in the November 3, 2020, presidential election. The


purpose of these false statements was to persuade Georgia legislators to reject lawﬁll electoral

votes cast by the duly elected and qualiﬁed presidential electors from Georgia. Members of the

enterprise corruptly solicited Georgia legislators instead to unlawﬁllly appoint their own

presidential electors for the purpose of casting electoral votes for Donald Trump. Members of the

enterprise also made false statements to state legislators during hearings and meetings in

Arizona, Michigan, and Pennsylvania in November and December 2020 to persuade legislators

in those states to unlawﬁllly appoint their own presidential electors.

       2. False Statements to and Solicitation of HighRanking State Ofﬁcials

       Members of the enterprise, including several of the Defendants, made false statements in

Fulton County and elsewhere in the State of Georgia to Georgia officials, including the

Governor, the Secretary cf State, and the Speaker of the House of Representatives. Members of

the enterprise also corruptly solicited Georgia officials, including the Secretary of State and the


Speaker of the House of Representatives, to violate their oaths to the Georgia Constitution and to

the United States Constitution by unlawfully changing the outcome of the November 3, 2020,




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presidential election in Georgia in favor of Donald Trump. Members of the enterprise also made

false statements to and solicited state ofﬁcials in Arizona, Michigan, and Pennsylvania.

        3. Creation and Distribution of False Electoral College Documents

        Members of the enterprise, including several of the Defendants, created false Electoral

College documents and recruited individuals to convene and cast false Electoral College votes at

the Georgia State Capitol, in Fulton County, on December 14, 2020. After the false Electoral


College votes were cast, members of the enterprise transmitted the votes to the President of the

United States Senate, the Archivist of the United States, the Georgia Secretary of State, and the

Chief Judge of the United States District Court for the Northern District of Georgia. The false

documents were intended to disrupt and delay the joint session of Congress on January 6, 2021,

in order to unlawfully change the outcome of the November 3, 2020, presidential election in

favor of Donald Trump. Similar schemes were executed by members of the enterprise in Arizona,

Michigan, Nevada, New Mexico, Pennsylvania, and Wisconsin.

        4. Harassment and Intimidation of Fulton Countv Election Worker Rubv Freeman

       Members of the enterprise, including several of the Defendants, falsely accused Fulton

County election worker Ruby Freeman of committing election crimes in Fulton County, Georgia.

These false accusations were repeated to Georgia legislators and other. Georgia ofﬁcials in an

effort to persuade them to unlawfully change the outcome of the November 3, 2020, presidential

election in favor of Donald Trump. In furtherance of this scheme, members of the enterprise

traveled from out of state to harass Freeman, intimidate her, and solicit her to falsely confess to

election crimes that she did not commit.




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        5. Solicitation of High-Ranking United States Department of Justice Ofﬁcials

       Members of the enterprise, including several of the Defendants, corruptly solicited high-

ranking United States Department of Justice ofﬁcials to make false statements to government

ofﬁcials in Fulton County, Georgia, including the Governor, the Speaker of the House of

Representatives, and the President Pro Tempore of the Senate. In one instance, Donald Trump

stated to the Acting United States Attorney General, "Just say that the election was corrupt, and
                                                                                    -




leave the rest to me and the Republican congressmen."

       6.    Solicitation of the Vice President of the United States

       Members of the enterprise, including several of the Defendants, corruptly solicited the

Vice President of the United States to violate the United States Constitution and federal law by

unlawﬁilly rejecting Electoral College votes cast in Fulton County, Georgia, by the duly elected

and qualiﬁed presidential electors ﬁom Georgia. Members of the enterprise also corruptly

solicited the Vice President to reject votes cast by the duly elected and qualiﬁed presidential

electors ﬁom several other states.

       7._   Unlawful Breach of Election Equipment in Georgia and Elsewhere

       Members of the enterprise, including several of the Defendants, corruptly conspired in

Fulton County, Georgia, and elsewhere to unlawﬁllly access secure voting equipment and voter

data. In Georgia, members of the enterprise stole data, including ballot images, voting equipment

software, and personal voter information. The stolen data was then distributed to other members

of the enterprise, including members in other states.




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       8.     Obstructive Acts in Furtherance of the Conspiracy and the Cover Up

       Members of the enterprise, including several of the Defendants, ﬁled false documents,

made false statements to government investigators, and committed perjury in judicial


proceedings in Fulton County, Georgia, and elsewhere in furtherance of and to cover up the

conspiracy.




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                    ACTS OF RACKETEERING ACTIVITY AND
                OVERT ACTS IN F URTHERANCE OF THE CONSPIRACY
        As part of and on behalf of the crimin'al enterprise detailed above, the Defendants and

other members and associates of the enterprise committed overt acts to eﬁect the objectives of

the enterprise, including but not limited to:

                                                Act 1.

        On or about the 4th day of November 2020, DONALD JOHN TRUMP made a
nationally televised speech falsely declaring victory in the 2020 presidential election.
Approximately four days earlier, on or about October 31, 2020, DONALD JOHN TRUMP
discussed a draft speech with unindicted coconspirator Individual l, whose identity is known to
the Grand Jury, that falsely declared victory and falsely claimed voter fraud. The speech was an
overt act in furtherance of the conspiracy.




       On or about the 15th day of November 2020, RUDOLPH WILLIAM LOUIS
GIULIANI placed a telephone call to unindicted co-conspirator Individual 2, whose identity is
known to the Grand Jury, and left an approximately 83-second-long voicemail message for
unindicted coconspirator Individual 2 making statements concerning fraud in the November 3,
2020, election in Fulton County, Georgia. This telephone call was an overt act in furtherance of
the conspiracy.




       On or about the 19th day of November 2020, RUDOLPH WILLIAM LOUIS
GIULIANI, JENNA LYNN ELLIS, SIDNEY KATHERINE POWELL, and unindicted co-
conspirator Individual 3, whose identity is known to the Grand Jury, appeared at a press
conference at the Republican National Committee Headquarters on behalf of DONALD JOHN
TRUMP and Donald J. Trump for President, Inc. (the "Trump Campaign") and made false
statements concerning fraud in the November 3', 2020, presidential election in Georgia and
elsewhere. These were overt acts in furtherance of the conspiracy.




        On or about the 20th day of November 2020, DAVID JAMES SHAFER sent an e-mail
to unindicted co-conspirator Individual 4, whose identity is known to the Grand Jury, and other
individuals. In the email, DAVID JAMES SHAF ER stated that SCOTT GRAHAM HALL, a
Georgia bail bondsman, "has been looking into the election on behalf of the President at the
request of David Bossie" and asked unindicted co-conspirator Individual 4 to exchange contact
information with SCOTT GRAHAM HALL and to "help him as needed." This was an overt act
in furtherance of the conspiracy.



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                                             Act 5.

        On or about the 20th day of November 2020, DONALD JOHN TRUNIP and MARK
RANDALL MEADOWS met with Majority Leader of the Michigan Senate Michael Shirkey,
Speaker of the Michigan House of Representatives Lee Chatﬁeld, and other Michigan legislators
in the Oval Ofﬁce at the White House, and DONALD JOHN TRUMP made false statements
concerning ﬁaud in the November 3, 2020, presidential election in Michigan. RUDOLPH
WILLIAM LOUIS GIULIANI joined the meeting by telephone. This meeting was an overt act
in furtherance of the conspiracy.

                                             Act 6.

       On or about the 21st day of November 2020, MARK RANDALL MEADOWS sent a
text message to United States Representative Scott Perry from Pennsylvania and stated, "Can
you send me the number for the speaker and the leader of PA Legislature. POTUS wants to chat
with them." This was an overt act in furtherance of the conspiracy.

                                             Act 7.

      On or about the 22nd day of November 2020, DONALD JOHN TRUMP and
RUDOLPH WILLIAM LOUIS GIULIANI placed a telephone call to Speaker of the Arizona
House of Representatives Russell "Rusty" Bowers. During the telephone call, RUDOLPH
WILLIAM LOUIS GIULIANI made false statements concerning fraud in the November 3,
2020, presidential election in Arizona and solicited, requested, and importuned Bowers t0
unlawﬁJlly appoint presidential electors from Arizona. Bowers declined and later testiﬁed to the
United States House of Representatives Select Committee to Investigate the January 6th Attack
on the United States Capitol that he told DONALD JOHN TRUMP, "I would not break my
oath." The false statements and solicitations were overt acts in furtherance of the conspiracy.

                                             Act 8.

       On or about the 25th day of November 2020, RUDOLPH WILLIAM LOUIS
GIULIANI and JENNA LYNN ELLIS appeared, spoke, and presented witnesses at a meeting
of Pennsylvania legislators in Gettysburg, Pennsylvania. During the meeting, RUDOLPH
WILLIAM LOUIS GIULIANI made false statements concerning fraud in the November 3,
2020, presidential election in Pennsylvania and solicited, requested, and importuned the
Pennsylvania legislators present at the meeting to unlawfully appoint presidential electors from
Pennsylvania. During the meeting, JENNA LYNN ELLIS solicited, requested, and importuned
the Pennsylvania legislators present at the meeting to unlawfully appoint presidential electors
from Pennsylvania. DONALD JOHN TRUMP joined the meeting by telephone, made false
statements concerning ﬁaud in the November 3, 2020, presidential election in Pennsylvania, and
solicited, requested, and importuned the Pennsylvania legislators present at the meeting to
unlawfully appoint presidential electors from Pennsylvania. These were overt acts in furtherance
of the conspiracy.




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                                            Act 9.

       On or about the 25th day of November 2020, immediately after the meeting of
Pennsylvania legislators in Gettysburg, Pennsylvania, where RUDOLPH WILLIAM LOUIS
GIULIANI and JENNA LYNN ELLIS appeared, spoke, and presented witnesses, DONALD
JOHN TRUMP invited a group of the Pennsylvania legislators and others to meet with him at
the White House. Later that day, DONALD JOHN TRUMP, MARK RANDALL
MEADOWS, RUDOLPH WILLIAM LOUIS GIULIANI, JENNA LYNN ELLIS and
unindicted co-conspirators Individual 5 and Individual 6, whose identities are known to the
Grand Jury, met with the group of Pennsylvania legislators at the White House and discussed
holding a special session of the Pennsylvania General Assembly. These were overt acts in
ﬂirtherance of the conspiracy.

                                            Act 10.

         On or about the 26th day of November 2020, RUDOLPH WILLIAM LOUIS
GIULIANI and JENNA LYNN ELLIS placed a telephone call to Speaker of the Pennsylvania
House of Representatives Bryan Cutler and left Cutler a voicemail message for the purpose of
soliciting, requesting, and importuning him to unlawfully appoint presidential electors from
Pennsylvania. This was an overt act in furtherance of the conspiracy.

                                            Act 11.

       On or about the 26th day of November 2020, RUDOLPH WILLIAM LOUIS
GIULIANI placed a telephone call to President Pro Tempore of the Pennsylvania Senate Jacob
"Jake" Corman for the purpose of soliciting, requesting, and importuning Corman to unlawfully
appoint presidential electors ﬁom Pennsylvania. This was an overt act in furtherance of the
                            '                                                           '



conspiracy.

                                           Act 12.

     On or about the 27th day of November 2020, RUDOLPH WILLIAM LOUIS
GIULIANI and JENNA LYNN ELLIS placed a telephone call to Speaker of the Pennsylvania
House of Representatives Bryan Cutler and left Cutler a voicemail message for the purpose of
soliciting, requesting, and importuning him to unlawfully appoint presidential electors from
Pennsylvania. This was an overt act in furtherance of the conspiracy.

                                           Act 12.

        On or about the 27th day of November 2020, RUDOLPH WILLIAM LOUIS
GIULIANI and JENNA LYNN ELLIS placed a telephone call to President Pro Tempore of the
Pennsylvania Senate Jake Corman for the purpose of soliciting, requesting, and importuning
Corman to unlawﬁilly appoint presidential electors from Pennsylvania. This was an overt act in
turtherance of the conspiracy.




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                                             Act l4.

        On or about the 27th day of November 2020, DONALD JOHN TRUMP placed a
telephone call to President Pro Tempore of the Pennsylvania Senate Jake Corman for the purpose
of soliciting, requesting, and importuning Corman to unlawfully appoint presidential electors
from Pennsylvania. This was an overt act in furtherance of the conspiracy.

                                             Act 15.
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        On or about the 28th day of November 2020, RUDOLPH WILLIAM LOUIS
GIULIANI placed a telephone call to Speaker of the Pennsylvania House of Representatives
Bryan Cutler and left Cutler a voicemail message for the purpose of soliciting, requesting, and
importuning him to unlawfully appoint presidential electors from Pennsylvania. This was an
overt act in furtherance of the conspiracy.

                                             Act 16.

     On or about the 29th day of November 2020, RUDOLPH WILLIAM LOUIS
GIULIANI placed a telephone call to Speaker of the Pennsylvania House of Representatives
Bryan Cutler and left Cutler a voicemail message for the' purpose of soliciting, requesting, and
importuning him to unlawfully appoint presidential electors from Pennsylvania. This was an
overt act in furtherance of the conspiracy.

                                             Act 17.

         On or about the 30th day of November 2020, RUDOLPH WILLIAM LOUIS
     '1




GIULIANI and JENNA LYNN ELLIS appeared, spoke, and presented witnesses at a meeting
of Arizona legislators in Phoenix, Arizona. Unindicted co-conspirators Individual 5 and
Individual 6, whose identities are known to the Grand Jury, were also present. During the
meeting, RUDOLPH WILLIAM LOUIS GIULIANI made false statements concerning fraud
in the November 3, 2020, presidential election in Arizona and solicited, requested, and
importuned the Arizona legislators present at the meeting to unlawfully appoint presidential
electors from Arizona. During the meeting, JENNA LYNN ELLIS solicited, requested, and
importuned the Arizona legislators present at the meeting to unlawfully appoint presidential
                                   J
electors from Arizona. DONALD OI-IN TRUMP joined the meeting by telephone and made
false statements concerning fraud in the November 3, 2020, presidential election in Arizona.
These were overt acts in furtherance of the conspiracy.

                                             Act 18.

       On or about the 30th day of November 2020, MICHAEL A. ROMAN instructed
unindicted co-conspirator Individual 7, whose identity is known to the Grand Jury, to coordinate
with individuals associated with the Trump Campaign to contact state legislators in Georgia and
elsewhere on'behalf of DONALD JOHN TRUMP and to encourage them to unlawfully appoint
presidential electors from their respective states. This was an overt act in furtherance of the
conspiracy.



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                                             Act 19.

        On or between the 1st day of December 2020 and the 31st day of December 2020,
DONALD JOHN TRUMP and MARK RANDALL MEADOWS met with John McEntee and
requested that McEntee prepare a memorandum outlining a strategy for disrupting and delaying
the joint session of Congress on January 6, 2021, the day prescribed by law for counting votes
cast by the duly elected and qualiﬁed presidential electors from Georgia and the other states. The
strategy included having Vice President Michael R. "Mike" Pence count only half of the electoral
votes from certain states and then return the remaining electoral votes to state legislatures. The
request was an overt act in furtherance of the conspiracy.

                                             Act 20.

        On or about the 1st day of December 2020, RUDOLPH WILLIAM LOUIS
GIULIANI and JENNA LYNN ELLIS met with Speaker of the Arizona House of
Representatives Rusty Bowers, President of the Arizona Senate Karen Fann, and other Arizona
legislators in Phoenix, Arizona. Unindicted co-conspirator Individual 5, whose identity is known
to the Grand Jury, was also present. During the meeting, RUDOLPH WILLIAM LOUIS
GIULIANI made false statements concerning fraud in the November 3, 2020, presidential
election in Arizona and solicited, requested, and importuned the legislators present to call a
special session of the Arizona State Legislature. These were overt acts in furtherance of the
conspiracy.

                                             Act 21.

        On or about the 2nd day of December 2020, RUDOLPH WILLIAM LOUIS
GIULIANI and JENNA LYNN ELLIS appeared, spoke, and presented witnesses at a meeting
of the Michigan House of Representatives Oversight Committee. During the meeting,
RUDOLPH WILLIAM LOUIS GIULIANI made false statements concerning fraud in the
November 3, 2020, presidential election in Michigan and solicited, requested, and importuned
the Michigan legislators present at the meeting to unlawfully appoint presidential electors from
Michigan. During the meeting, JENNA LYNN ELLIS solicited, requested, and importuned the
Michigan legislators present at the meeting to unlawfully appoint presidential electors from
Michigan. These were overt'acts in ﬁirtherance of the conspiracy.

                                             Act 22

       On or about the 3rd day of December 2020, DONALD JOHN TRUMP caused to be
tweeted from the Twitter account @RealDonaldTrump, "Georgia hearings now on @OANN.
Amazing!" This was an overt act in furtherance of the conspiracy.




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         On or about the 3rd day of December 2020, RUDOLPH WILLIAM LOUIS
GIULIANI, JOHN CHARLES EASTMAN, JENNA LYNN ELLIS, and RAY STALLINGS
SMITH III committed the felony offense of SOLICITATION OF VIOLATION OF OATH
BY PUBLIC OFFICER, in Violation of O.C.G.A. §§ 16-47 & 16-10-1, in Fulton County,
Georgia, by unlawfully soliciting, requesting, and importuning certain public ofﬁcers then
serving as elected members of the Georgia Senate and present at a Senate Judiciary
Subcommittee meeting, including unindicted co-conspirator Individual 8, Whose identity is
known to the Grand Jury, Senators Lee Anderson, Brandon Beach, Matt Brass, Greg Dolezal,
Steve Gooch, Tyler Harper, Bill Heath, Jen Jordan, John F. Kennedy, William Ligon, Elena
Parent, Michael Rhett, Carden Summers, and Blake Tillery, to engage in conduct constituting the
felony offense of Violation of Oath by Public Ofﬁcer, O. C. G. A. § 16 10- 1, by unlawfully
appointing presidential electors from Georgia, in willful and intentional Violation of the terms of
the oath of said persons as prescribed by law, with intent that said persons engage in said
conduct. This was an overt act in furtherance of the conspiracy.

                                               Act 24.

        On or about the 3rd day of December 2020, RUDOLPH WILLIAM LOUIS
GIULIANI committed the felony offense of FALSE STATEMENTS AND WRITINGS, in
violation of O.C.G.A. § 16-10-20, in-Fulton County, Georgia, by knowingly, willfully, and
unlawfully making at least one of the following false statements and representations to members
of the Georgia Senate present at a Senate Judiciary Subcommittee meeting:

    1.   That at least 96,600 mailin ballots were counted in the November 3, 2020, presidential
         election in Georgia, despite there being no record of those ballots having been returned to
         a county elections ofﬁce;


   2. That Dominion Voting Systems equipment used in the November 3, 2020, presidential
         election in Antrim County, Michigan, mistakenly recorded 6,000 votes for Joseph R.
         Biden when the votes were actually cast for Donald John Trump;

said statements being within the jurisdiction of the Ofﬁce of the Georgia Secretary of State and
the Georgia Bureau of Investigation, departments and agencies of state government, and county
and city law enforcement agencies. This was an act of racketeering activity under O.C.G.A. § 16-
14-3 (5)(A)(xxii) and an overt act in furtherance of the conspiracy.




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                                             Act 25.

        On or about the 3rd day of December 2020, RAY STALLINGS SMITH III committed
the felony offense of FALSE STATEMENTS AND WRITINGS, in violation of O.C.G.A. §
16-10-20, in Fulton County, Georgia, by knowingly, willfully, and unlawfully making at least
one of the following false statements and representations to members of the Georgia Senate
present at a Senate Judiciary Subcommittee meeting:

    l. That 2,506 felons voted illegally in the November 3, 2020, presidential election in
        Georgia;

   2.   That 66,248 underage people illegally registered to vote before their seventeenth birthday
        prior to the November 3, 2020, presidential election in Georgia;

   3.   That at least 2,423 people voted in the November 3, 2020, presidential election in
        Georgia who were not listed as registered to vote;

   4.   That 1,043 people voted in the November 3, 2020, presidential election in Georgia who
        had illegally registered to vote using a post ofﬁce box;

   5.   That 10,315 or more dead people voted in the November 3, 2020, presidential election in
        Georgia;

   6. That Fulton County election workers at State Farm Arena ordered poll watchers and
      members of the media to leave the tabulation area on the night of November 3, 2020, and
      continued to operate after ordering everyone to leave;

said statements being within the jurisdiction of the Ofﬁce of the Georgia Secretary of State and
the Georgia Bureau of Investigation, departments and agencies of state government, and county
and city law enforcement agencies. This was an act of racketeering activity under O.C.G.A. § l6-
l4-3 (5)(A)(xxii) and an overt act in furtherance of the conspiracy.

                                             Act 26.

        On or about the 3rd day 0f December 2020, DONALD JOHN TRUMP caused to be
tweeted from the Twitter account @RealDonaldTrump, "Wow! Blockbuster testimony taking
place right now in Georgia. Ballot stufﬁng by Dems when Republicans were forced to leave the
large counting room. Plenty more coming, but this alone leads to an easy win of the State!" This
was an overt act in ﬁlrtherance of the conspiracy.

                                             Act 27.

       On or about the 3rd day 0f December 2020, DONALD JOHN TRUMP caused to be
tweeted from the Twitter account @RealDonaldTrump, "People in Georgia got caught cold
bringing in massive numbers of ballots and putting them in 'voting' machines. Great job
@BrianKempGA!" This was an overt act in furtherance of the conspiracy.


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                                             Act 28.

       On or about the 3rd day of December 2020, DONALD JOHN TRUMP met with
Speaker of the Pennsylvania House of Representatives Bryan Cutler in the Oval Ofﬁce at the
White House and discussed holding a special session of the Pennsylvania General Assembly.
This was an overt act in furtherance of the conspiracy.

                                             Act 29.

         On or between the 3rd day of December 2020 and the 26th day of December 2020,
RUDOLPH WILLIAM LOUIS GIULIANI placed a telephone call to President Pro Tempore
of the Georgia Senate Cecil Terrell "Butch" Miller for the purpose of making false statements
concerning fraud in the November 3, 2020, presidential election in Georgia. This was an overt
act in furtherance of the conspiracy.

                                             Act 30.

       On or between the 3rd day of December 2020 and the 26th day of December 2020,
DONALD JOHN TRUMP placed a telephone call to President Pro Tempore of the Georgia
Senate Butch Miller. This was an overt act in furtherance of the conspiracy.

                                             Act 31.

         On or about the 5th day of December 2020, DONALD JOHN TRUMP placed a
telephone call to Georgia Governor Brian Kemp and solicited, requested, and importuned Kemp
to call a special session of the Georgia General Assembly. This was an overt act in furtherance of
the conspiracy.

                                             Act 32.

        On or about the 6th day of December 2020, DONALD JOHN TRUMP caused to be
tweeted from the Twitter account @RealDonaldTrump, "Gee, what a surprise. Has anyone
informed the so-called (says he has no power to do anything!) Governor @BrianKempGA & his
puppet Lt. Governor @GeoffDuncanGA, that they could easily solve this mess, & WIN.
Signature verification & call a Special Session. So easy! 'https://t.co/5cb4QdepU." This was an
overt act in furtherance of the conspiracy.

                                             Act 33.

        On or about the 6th day of December 2020, SIDNEY KATHERINE POWELL entered
into a written engagement agreement with SullivanStrickler LLC, a forensic data ﬁrm located in
Fulton County, Georgia, for the performance of computer forensic collections and analytics on
Dominion Voting Systems equipment in Michigan and elsewhere. The unlawful breach of
election equipment in Coffee County, Georgia, was subsequently performed under this
agreement. This was an overt act in furtherance of the conspiracy.




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                                              Act 34.

        On or about the 6th day 0f December 2020, ROBERT DAVID CHEELEY sent an e-
mail to JOHN CHARLES EASTMAN, unindicted co-conspirator Individual 8, whose identity
is known to the Grand Jury, and Georgia Senator Brandon Beach that stated, "I am working on
setting up a call for you with the Speaker and the President Pro Tempore tomorrow. I am also
making the leadership aware of the importance for Trump electors to meet on December l4.
Please provide the citation to the requirements of the duties which they must comply with." This
was an overt act in furtherance of the conspiracy.

                                              Act 35.

        On or about the 6th day of December 2020, JOHN CHARLES EASTMAN sent an e
mail to ROBERT DAVID CHEELEY, unindicted co-conspirator Individual 8, whose identity is
known to the Grand Jury, and Georgia Senator Brandon Beach that stated that the Trump
presidential elector nominees in Georgia needed to meet on December l4, 2020, sign six sets of
certiﬁcates of vote, and mail them "to the President of the Senate and to other ofﬁcials." This
was an overt act in furtherance of the conspiracy.

                                              Act 36.

        On or about the 6th day 0f December 2020, ROBERT DAVID CHEELEY sent an e-
mail to unindicted co-conspirator Individual 2, whose identity is known to the Grand Jury, that
stated he had been speaking with JOHN CHARLES EASTMAN and was attempting to set up a
call with Speaker of the Georgia House of Representatives David Ralston and President Pro
Tempore of the Georgia Senate Butch Miller to encourage them to call a special session of the
Georgia General Assembly. In the email, ROBERT DAVID CHEELEY stated, "Professor
Eastman told me tonight that it is critical that the 16 Electors for President Trump meet next
Monday and vote in accordance with 3 U.S.C. § 7." In the e-mail, ROBERT DAVID
CHEELEY further stated, "I assume you can make sure this happens." This was an overt act in
furtherance of the conspiracy.

                                              Act 37.

        On or about the 7th day of December 2020, unindicted coconspirator Individual 2,
Whose identity is known to the Grand Jury, sent an email to ROBERT DAVID CHEELEY and
DAVID JAMES SHAFER that stated, "Bob, can u get on a call with David Shafer, state GOP
chair and I later this morning to discuss. David has been on top of a lot of eﬁ'orts in the state. I
get off of a board call around 10:30." This was an overt act in furtherance of the conspiracy.




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                                             Act 38.

       On or about the 7th day of December 2020, RUDOLPH WILLIAM LOUIS
GIULIANI caused to be tweeted from the Twitter account @RudyGiuliani a retweet of
unindicted co-conspirator Individual 8, whose identity is known to the Grand Jury, that stated,
"Georgia Patriot Call to Action: today is the day we need you to call your state Senate & House
Reps & ask them t0 sign the petition for a special session. We must have free & fair elections in
GA & a this is our only path to ensuring every legal vote is counted. @realDonaldTrump." This
was an overt act in furtherance of the conspiracy.

                                             Act 39.

        On or about the 7th day 0f December 2020, JOHN CHARLES EASTMAN sent an e-
mail to RUDOLPH WILLIAM LOUIS GIULIANI with an attached memorandum titled "The
Real Deadline for Settling a State's Electoral Votes." The body of the e-mail stated, "Here's the
memo we discussed." The memorandum was written by KENNETH JOHN CHESEBRO to
James R. Troupis, an attomey associated with the Trump Campaign, and advocates for the
position that Trump presidential elector nominees in Wisconsin should meet and cast electoral
votes for DONALD JOHN TRUMP on December 14, 2020, despite the fact that DONALD
JOHN TRUMP lost the November 3, 2020, presidential election in Wisconsin. This e-mail was
an overt act in furtherance of the conspiracy.

                                             Act 40.

        On or about the 7th day 0f December 2020, DONALD JOHN TRUMP requested that
Bill White, an individual associated with the Trump Campaign then residing in Fulton County,
Georgia, provide him with certain information, including contact information for Majority
Leader of the Georgia Senate Mike Dugan and President Pro Tempore of the Georgia Senate
Butch Miller. The following day, White sent an email containing the requested information to
RUDOLPH WILLIAM LOUIS GIULIANI, unindicted co-conspirator Individual 5, whose
identity is known to the Grand Jury, and others. This request was an overt act in furtherance of
the conspiracy.

                                             Act 41.

        On or about the 7th day 0f December 2020, RUDOLPH WILLIAM LOUIS
GIULIANI placed a telephone call to Speaker of the Georgia House of Representatives David
Ralston and discussed holding a special session of the Georgia General Assembly. This was an
overt act in ﬁthherance of the conspiracy.




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                                             Act 42.

        On or about the 7th day of December 2020, DONALD JOHN TRUMP committed the
felony offense of SOLICITATION OF VIOLATION OF OATH BY PUBLIC OFFICER, in
Violation of O.C.G.A. §§ 16-4-7 & 16-10-1, in Fulton County, Georgia, by unlawfully soliciting,
requesting, and importuning Speaker of the Georgia House of Representatives David Ralston, a
public ofﬁcer, to engage in conduct constituting the felony offense of Violation of Oath by
Public Ofﬁcer, O.C.G.A. § 1610-1, by calling a special session of the Georgia General
Assembly for the purpose of unlawfully appointing presidential electors from Georgia, in willful
and intentional Violation of the terms of the oath of said person as prescribed by law, with intent
that said person engage in said conduct. This was an overt act in furtherance of the conspiracy.

                                             Act 43.

        On or about the 8th day of December 2020, DONALD JOHN TRUMP placed a
telephone call to Georgia Attorney General Chris Carr for the purpose of making false statements
concerning fraud in the November 3, 2020, presidential election in-Georgia and elsewhere.
During the telephone call, DONALD JOHN TRUMP asked Carr not to discourage other state
attorneys general ﬁom joining a federal lawsuit filed by the State of Texas contesting the
administration of the November 3, 2020, presidential election in Georgia, Michigan,
Pennsylvania, and Wisconsin. This was an overt act in furtherance of the conspiracy.

                                             Act 44.

        On or about the 8th day of December 2020, DONALD JOHN TRUMP and JOHN
CHARLES EASTMAN placed a telephone call to Republican National Committee
Chairwoman Ronna McDaniel to request her assistance gathering certain individuals to meet and
cast electoral votes for DONALD JOHN TRUMP on December 14, 2020, in certain states
despite the fact that DONALD JOHN TRUMP' lost the November 3, 2020, presidential election
in those states. This was an overt act in furtherance of the conspiracy.

                                             Act 45.

        On or about the 8th day of December 2020, MICHAEL A. ROMAN sent a text
message to unindicted co-conspirator 1ndividual 4, whose identity is known to the Grand Jury,
stated that he had spoken to MISTY HAMPTON, and asked unindicted co-conspirator
Individual 4 to "get" MISTY HAMPTON to attend the hearing before the Georgia House of
Representatives Governmental Affairs Committee on December 10, 2020. This was an overt act
in furtherance of the conspiracy.




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                                             Act 46.

        On or about the 9th day of December 2020, KENNETH JOHN CHESEBRO wrote a
memorandum titled "Statutory Requirements for December 14 Electoral Votes" to James R.
Troupis, an attorney associated with the Trump Campaign. The memorandum provides detailed,
state-speciﬁc instructions for how Trurnp presidential elector nominees in Georgia, Arizona,
Michigan, Nevada, Pennsylvania, and Wisconsin would meet and cast electoral votes for
DONALD JOHN TRUMP on December l4, 2020, despite the fact that DONALD JOHN
TRUMP lost the November 3, 2020, presidential election in those states. This was an overt act
in ﬂirtherance of the conspiracy.

                                            Act 47.

         On or about the 10th day of December 2020, KENNETH JOHN CHESEBRO sent an
e-mail to Georgia Republican Party Chairman DAVID JAMES SHAFER and unindicted co-
conspirator Individual 9, whose identity is known to the Grand Jury. KENNETH JOHN
CHESEBRO stated in the e-mail that certain individuals associated with the Trump Campaign
asked him "to help coordinate with the other 5 contested States, to help With logistics of the
electors in other States hopefully joining in casting their votes on Monday." This was an overt
act in furtherance of the conspiracy.

                                            Act 48.

        On or about the 10th day of December 2020, KENNETH JOHN CHESEBRO sent an
e-mail with attached documents to DAVID JAMES SHAFER and unindicted co-conspirators
Individual 9, Individual 10, and Individual 11, whose identities are known to the Grand Jury. The
documents were to be used by Trump presidential elector nominees in Georgia for the purpose of
casting electoral votes for DONALD JOHN TRUW on December 14, 2020, despite the fact
that DONALD JOHN TRUMP lost the November 3, 2020, presidential election in Georgia.
This was an overt act in furtherance of the conspiracy.

                                            Act 49.

        On or about the 10th day of December 2020, KENNETH JOHN CHESEBRO sent an
email with attached documents to Arizona Republican Party Executive Director Greg Safsten
and others. The documents were 'to be used by Trump presidential elector nominees in Arizona
for the purpose of casting electoral votes for DONALD JOHN TRUMP on December 14, 2020,
despite the fact that DONALD JOHN TRUMP lost the November 3, 2020, presidential election
in Arizona. This was an over't act in ﬂirtherance of the conspiracy.




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                                                Act 50.

             On or about the 10th day of December 2020, KENNETH JOHN CHESEBRO sent an
     e-mail to Republican Party of Wisconsin Chairman Brian Schimming with proposed language
     for documents to be used by TruInp presidential elector nominees in Wisconsin for the purpose
     of casting electoral votes for DONALD JOHN TRUMP on December 14, 2020, despite the fact
    'that DONALD JOHN TRUMP lost the November 3, 2020, presidential election in Wisconsin.
     This was an overt act in furtherance of the conspiracy.

                                                Act51-

.           On or about the 10th day of December 2020, KENNETH JOHN CHESEBRO sent an
    e-mail to Nevada Republican Party Vice Chairman Jirn DeGraffenreid. KENNETH JOHN
    CHESEBRO stated in the e-mail that RUDOLPH WILLIAM LOUIS GIULIANI and other
    individuals associated With the Trump Campaign asked him "to reach out to you and the other
    Nevada electors to run point on the plan to have all Trump-Pence electors in all six contested
    States meet and transmit their votes to Congress on Monday, Dec. 14." This was an overt act in
                                                                            I


    furtherance of the conspiracy.

                                               Act 52

           On or about the 10th day of December 2020, KENNETH JOHN CHESEBRO sent an
    email with  attached documents to Jim DeGraffenreid. The documents were to be used by Trump
    presidential elector nominees in Nevada for the purpose of casting electoral votes for DONALD
    JOHN TRUMP on December 14, 2020, despite the fact that DONALD JOHN TRUMP lost
    the November 3, 2020, presidential election in Nevada. This was an overt act in furtherance of
    the conspiracy.

                                               Act 52

           On or about the 10th day of December 2020, KENNETH JOHN CHESEBRO sent an
    e-mail with attached documents to Republican Party of Pennsylvania General Counsel Thomas
    W. King III. The documents were to be used by Trump presidential elector nominees in
    Pennsylvania for the purpose of casting electoral votes for DONALD JOHN TRUMP on
    December 14, 2020, despite the fact that DONALD JOHN TRUMP lost the November 3, 2020,
    presidential election in Pennsylvania. This was an overt act in furtherance of the conspiracy.

                                               Act 54.

           On or between the 10th day of December 2020 and the 14th day of December 2020,
    DAVID JAMES SHAFER contacted unindicted coconspirator Individual 2, whose identity is
    known to the Grand Jury, by telephone and discussed unindicted co-conspirator Individual 2's
    attendance at the December 14, 2020, meeting of Trump presidential elector nominees in Fulton
    County, Georgia. This was an overt act in furtherance of the conspiracy.




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                                             Act 55.

        On or about the 10th day of December 2020, RUDOLPH WILLIAM LOUIS
GIULIANI and RAY STALLINGS SMITH III committed the felony offense of
SOLICITATION OF VIOLATION OF OATH BY PUBLIC OFFICER, in Violation of
O.C.G.A. §§ 16-4-7 & 16-10-1, in Fulton County, Georgia, by unlawfully soliciting, requesting,
and importuning certain public ofﬁcers then serving as elected members of the Georgia House of
Representatives and present at a House Governmental Affairs Committee meeting, including
Representatives Shaw Blackmon, Jon Burns, Barry Fleming, Todd Jones, Bee Nguyen, Mary
Margaret Oliver, Alan Powell, Renitta Shannon, Robert Trammell, Scot Turner, and Bruce
Williamson, to engage in conduct constituting the felony offense of Violation of Oath by Public
Ofﬁcer, O.C.G.A. § 16-10-1, by unlawfully appointing presidential electors from Georgia, in
willful and intentional violation of the terms of the oath of said persons as prescribed by law,
with intent that said persons engage in said conduct. This was an overt act in furtherance of the
conspiracy.




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                                               Act 56.

        On or about the 10th day of December 2020, RUDOLPH WILLIAM LOUIS
GIULIANI committed the felony offense of FALSE STATEMENTS AND WRITINGS, in
Violation of O.C.G.A. § 16-10-20, in Fulton County, Georgia, by knowingly, willfully, and
unlawfully making at least one of the following false statements and representations to members
of the Georgia House 0f Representatives present at a House Governmental Affairs Committee
meeting:

    1.   That it is quite clear from the State Farm Arena Video from November 3, 2020, that
         Fulton County election workers were stealing votes and that Georgia ofﬁcials were
         covering up a crime in plain sight;

   2     That at State Farm Arena on November 3, 2020, Democratic ofﬁcials "got rid of all of the
         reporters, all the observers, anyone that couldn't be trusted," used the excuse of a
         watermain break, cleared out the voting area and then "went about their dirty, crooked
         business";

   3     That between 12,000 and 24,000 ballots were illegally counted by Fulton County election
         workers at State Farm Arena on November 3, 2020;

   4A
         That in Michigan, there were 700,000 more ballots counted than were sent out to voters
         in the November 3, 2020, presidential election, which was accounted for by quadruple
         counting ballots;

   5     That Ruby Freeman, Shaye Moss, and an unidentiﬁed man were "quite obviously
         surreptitiously passing around USB ports as if they're vials of heroin or cocaine" at State
         Farm Arena to be used to "inﬁltrate the crooked Dominion voting machines";

   6     That 96,600 mail-in ballots were counted in the November 3, 2020, presidential election
         in Georgia, despite there being no record of those ballots having been returned to a
         county elections ofﬁce;

said statements being Within the jurisdiction of the Ofﬁce of the Georgia Secretary of State and
the Georgia Bureau of Investigation, departments and agencies of state government, and county
and city law enforcement agencies. This was an act of racketeering activity under O.C.G.A. § 16-
14-3 (5)(A)(xxii) and an overt act in furtherance of the conspiracy.




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                                             Act 57.

        On or about the, 11th day of December 2020, DAVID JAMES SHAFER reserved Room
216 at the Georgia State Capitol in Fulton County, Georgia, for the December 14, 2020, meeting
of Trump presidential elector nominees in Fulton County, Georgia. This was an overt act in
furtherance of the conspiracy.

                                             Act 58.

        On or about the 11th day of December 2020, KENNETH JOHN CHESEBRO sent an
e-mail to Jim DeGraffenreid and stated that "the purpose of having the electoral votes sent in to
Congress is to provide the opportunity to debate the election irregularities in Congress, and to
keep alive the possibility that the votes could be ﬂipped to Trump." This was an overt act in
ﬁlrtherance of the conspiracy.

                                             Act 59.
      '

        On or about the 11th day of December 2020, KENNETH JOHN CHESEBRO sent an
e-mail with attached documents to Greg Safsten and others. The documents were to be used by
Trump presidential elector nominees in Arizona for the purpose of casting electoral votes for
DONALD JOHN TRUMP on December 14, 2020, despite the fact that DONALD JOHN
TRUMP lost the November 3, 2020, presidential election in Arizona. This was an overt act in
furtherance of the conspiracy.

                                             Act 60.

        On or about the 11th day of December 2020, KENNETH JOHN CHESEBRO sent an
e-mail with attached documents to MICHAEL A. ROMAN and other individuals associated
with the Trump Campaign. The documents were to be used by Trump presidential elector
nominees in Nevada for the purpose of casting electoral votes for DONALD JOHN TRUMP on
December 14, 2020, despite the fact that DONALD JOHN TRUMP lost the November 3, 2020,
presidential election in Nevada. This was an overt act in furtherance of the conspiracy.

                                             Act 61.

         On or about the 11th day of December 2020, KENNETH JOHN CHESEBRO sent an
e-mail with attached documents to MICHAEL A. ROMAN, unindicted co-conspirator
Individual 5, whose identity is known to the Grand Jury, and others. The documents were to be
used by Trump presidential elector nominees in Georgia for the purpose of casting electoral
votes for DONALD JOHN TRUMP on December 14, 2020, despite the fact that DONALD
JOHN TRUMP lost the November 3, 2020, presidential election in Georgia. This was an overt
act in furtherance of the conspiracy.




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                                             Act 62.

        On or about the 12th day of December 2020, DAVID JAMES SHAFER contacted
unindicted co-conspirator Individual 12, whose identity is known t0 the Grand Jury, and
discussed unindicted co-conspirator Individual 12's attendance at the December 14, 2020,
meeting of Trump presidential elector nominees in Fulton County, Georgia. This was an overt act
in furtherance of the conspiracy.

                                             Act 63.

        On or about the 12th day of December 2020, MICHAEL A. ROMAN sent an e-mail to
unindicted co-conspirators Individual 4 and Individual 7, whose identities are known to the
Grand Jury, and other individuals associated with the Trump Campaign. In the e-mail,
MICHAEL A. ROMAN stated, "I need a tracker for the electors," and instructed individuals
associated with the Trump Campaign to populate entries on a shared spreadsheet listing Trump
presidential elector nominees in Georgia, Arizona, Michigan, Nevada, Pennsylvania, and
Wisconsin. The entries on the spreadsheet included contact information for the Trump
presidential elector nominees, whether the Trump presidential elector nominees had been
contacted, and whether the Trump presidential elector nominees had conﬁrmed that they would
attend the December l4, 2020, meetings of Trump presidential elector nominees in their
respective states, despite the fact that DONALD JOHN TRUMP lost the November 3, 2020,
presidential election in those states. This was an overt act in furtherance of the conspiracy.

                                             Act 64.

        On or about the 12th day of December 2020, KENNETH JOHN CHESEBRO met
with Brian Schimming and discussed the December l4, 2020, meeting of Trump presidential
elector nominees in Wisconsin. RUDOLPH WILLIAM LOUIS GIULIANI joined the meeting
by telephone and stated that the media should not be notiﬁed of the December 14, 2020, meeting
of Trump presidential elector nominees in Wisconsin. These were overt acts in furtherance of the
conspiracy.

                                             AL65-
        On or about the 12th day of December 2020, MICHAEL A. ROMAN instructed an
individual associated with the Trump Campaign to distribute certain information related to the
December 14, 2020, meetings of Trump presidential elector nominees in Georgia, Arizona,
Michigan, Nevada, New Mexico, Pennsylvania, and Wisconsin to unindicted co-conspirator
Individual 4, whose identity is known to the Grand Jury, and to other individuals associated with
the Trump Campaign. This was an overt act in furtherance of the conspiracy.




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                                            AL"-
       On or about the 12th day of December 2020, unindicted co-conspirator Individual 4,
Whose identity is known to the Grand Jury, sent an e-mail to MICHAEL A. ROMAN and
DAVID JAMES SHAFER with updates on the progress of organizing the December 14, 2020,
meeting of Trump presidential elector nominees in Fulton County, Georgia. The e-mail stated
which elector nominees had conﬁrmed they would attend the meeting, that other individuals had
been secured in case some of the elector nominees refused to participate in the meeting, that
Georgia legislators had been contacted to ensure access to the Georgia Capitol, and that DAVID
JAMES SHAFER had reserved Room 216 for the meeting. This was an overt act in furtherance
of the conspiracy.

                                            Act 67.

        On or about the 12th day of December 2020, DAVID JAMES SHAFER sent an e-mail
to unindicted co-conspirator Individual 4, whose identity is known to the Grand Jury, advising
them to "touch base" with each of the Trump presidential elector nominees in Georgia in advance
of the December 14, 2020, meeting to conﬁrm their attendance. This was an overt act in
furtherance of the conspiracy.

                                            Act 68.

       On or about the 12th day of December 2020, unindicted co-conspirator Individual 4,
whose identity is known to the Grand Jury, sent a text message with contactlinformation for
unindicted coconspirator Individual 8, whose identity is known to the Grand Jury, and Georgia
Senator Brandon Beach to MICHAEL A. ROMAN for the purpose of providing the contact
information to RUDOLPH WILLIAM LOUIS GIULIANI. This was an overt act in
furtherance of the conspiracy.

                                            Act 69.

        On or about the 13th day of December 2020, KENNETH JOHN CHESEBRO sent an
e-mail with attached documents to MICHAEL A. ROMAN. The documents were to be used by
Trump presidential elector nominees in New Mexico for the purpose of casting electoral votes
for'DONALD JOHN TRUMP on December 14, 2020, despite the fact that DONALD JOHN
TRUMP lost the November 3, 2020, presidential election in New Mexico. This was an overt act
in furtherance of the conspiracy.




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                                             Act 70.

        On or about the 13th day of December 2020, KENNETH JOHN CHESEBRO sent an
e-mail to RUDOLPH WILLIAM LOUIS GIULIANI with the subject "PRIVILEGED AND
CONFIDENTIAL Brief notes on 'President of the Senate' strategy." In the email, KENNETH
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JOHN CHESEBRO outlined multiple strategies for disrupting and delaying the joint session of
Congress on January 6, 2021, the day prescribed by law for counting votes cast by the duly
elected and qualiﬁed presidential electors from Georgia and the other states. In the e-mail,
KENNETH JOHN CHESEBRO stated that the strategies outlined by him were "preferable to
allowing the Electoral Count Act to operate by its terms." This was an overt act in furtherance of
the conspiracy.


                                             AL71-
        On or about the 13th day of December 2020, KENNETH JOHN CHESEBRO sent an
email with attached documents to MICHAEL A. ROMAN and unindicted co-conspirator
Individual 4, whose identity is known to the Grand Jury. The documents were to be used by
Trump presidential elector nominees in Georgia for the purpose of casting electoral votes for
DONALD JOHN TRUMP on December l4, 2020, despite the fact that DONALD JOHN
TRUMP lost the November 3, 2020, presidential election in Georgia. This was an overt act in
ﬁlrtherance of the conspiracy.

                                             Act 72.

        On or about the 13th day of December 2020, KENNETH JOHN CHESEBRO sent an
e-mail to MICHAEL A. ROMAN and unindicted co-conspirator Individual 4, whose identity is
known to the Grand Jury, and stated that RUDOLPH WILLIAM LOUIS GIULIANI "wants to
keep this quiet until after all the voting is done," in reference to the December 14, 2020, meeting
of Trump presidential elector nominees in Fulton County, Georgia. This was an overt act in
furtherance of the conspiracy.

                                             Act 73.

        On or about the 13th day of December 2020, DAVID JAMES SHAFER sent a text
message to unindicted co-conspirator Individual 4, whose identity is known to the Grand Jury,
and stated that unindicted co-conspirator Individual 8, whose identity is known to the Grand
Jury, would attend the December 14, 2020, meeting of Trump presidential elector nominees in
Fulton County, Georgia, in the place of a Trump presidential elector nominee who refused to
participate in the meeting. This was an overt act in furtherance of the conspiracy.




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                                             Act 74.

       On or about the 13th day of December 2020, unindicted co-conspirator Individual 9,
whose identity is known to the Grand Jury, sent a text message to DAVID JAMES SHAFER
and conﬁrmed that he and unindicted co-conspirator Individual 13, whose identity is known to
the Grand Jury, would attend the December 14, 2020, meeting of Trump presidential elector
nominees in Fulton County, Georgia. This was an overt act in furtherance of the conspiracy.

                                             Act 75.

        On or about the 14th day 0f December 2020, DONALD JOHN TRUMP caused to be
tweeted from the Twitter account @RealDonaldTrump, "What a fool Governor @BrianKempGA
of Georgia is. Could have been so easy, but now we have to do it the hard way. Demand this
clown call a Special Session and open up signature veriﬁcation, NOW. Otherwise, could be a bad
day for two GREAT Senators on January 5th." This was an overt act in furtherance of the
conspiracy.

                                             Act 76.

         On 0r about the 14th day of December 2020, DAVID JAMES SHAFER sent a text
message to unindicted coconspirator Individual 4, whose identity is known to the Grand Jury
that stated, "Listen. Tell them to go straight to Room 216 to avoid drawing attention to what we
are doing," in reference to the December 14, 2020, meeting of Trump presidential elector
nominees in Fulton County, Georgia. This was an overt act in furtherance of the conspiracy.

                                             Act 77.

       On or about the 14th day 0f December 2020, MICHAEL A. ROMAN sent an e-mail to
unindicted coconspirators Individual 4 and Individual 7, whose identities are known to the
Grand Jury, and stated, "Please send me an update as soon as the State Electoral College has
adjourned and all paperwork is secured." This was an overt act in furtherance of the conspiracy.

                                             Act 78.

        On 0r about the 14th day 0f December 2020, RAY STALLINGS SMITH III and
DAVID JAMES SHAFER encouraged certain individuals present at the December 14, 2020,
meeting of Trump presidential elector nominees in Fulton County, Georgia, to sign the document
titled "CERTIFICATE OF THE VOTES OF THE 2020 ELECTORS FROM GEORGIA." This
was an overt act in furtherance of the conspiracy.




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                                              Act 79.

        On or about the 14th day of December 2020, DAVID JAMES SHAFER, SHAWN
MICAH TRESHER STILL, CATHLEEN ALSTON LATHAM, and unindicted co-
conspirators Individual 2, Individual 8, Individual 9, Individual 10, Individual ll, Individual 12,
Individual 13, Individual l4, Individual 15, Individual 16, Individual l7, Individual 18, and
Individual 19, Whose identities are known to the Grand Jury, committed the felony offense of
IMPERSONATING A PUBLIC OFFICER, in violation of O.C.G.A. § 16-10-23, in Fulton
County, Georgia, by unlawfully falsely holding themselves out as the duly elected and qualiﬁed
presidential electors ﬁom the State of Georgia, public ofﬁcers, with intent to mislead the
President of the United States Senate, the Archivist of the United States, the Georgia Secretary of
State, and the Chief Judge of the United States District Court for the Northern District of Georgia
into believing that they actually were such ofﬁcers by placing in the United States mail to said
persons a document titled "CERTIFICATE OF THE VOTES OF THE 2020 ELECTORS FROM
GEORGIA." This was an act of racketeering activity under O.C.G.A. § 16-14-3(5)(A)(xxiii) and
an overt act in furtherance of the conspiracy.

                                              Act 80.

        On or about the 14th day of December 2020, DAVID JAMES SHAFER, SHAWN
MICAH TRESHER STILL, CATHLEEN ALSTON LATHAM, and unindicted co-
conspirators Individual 2, Individual 8, Individual 9, Individual 10, Individual ll, Individual 12,
Individual l3, Individual l4, Individual 15, Individual 16, Individual l7, Individual l8, and
Individual 19, whose identities are known to the Grand Jury, committed the felony offense of
FORGERY IN THE FIRST DEGREE, in violation of O.C.G.A. § 16-9-1(b), in Fulton                  _




County, Georgia, by, with the intent to defraud, knowingly making a document titled
"CERTIFICATE OF THE VOTES OF THE 2020 ELECTORS FROM GEORGIA," a writing
other than a check, in such manner that the writing as made purports to have been made by
authority of the duly elected and qualiﬁed presidential electors from the State of Georgia, who
did not give such authority, and uttered and delivered said document to the Archivist of the
United States. This was an act of racketeering activity under O.C.G.A. § 1614-3(5)(A)(xvi) and
an overt act in furtherance of the conspiracy.




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                                              Act 81.

    On or about the 14th day of December 2020, DAVID JAMES SHAF ER, SHAWN
MICAH TRESHER STILL, CATHLEEN ALSTON LATHAM, and unindicted co-
conspirators Individual 2, Individual 8, Individual 9, Individual 10, Individual ll, Individual 12,
Individual 13, Individual 14, Individual 15, Individual l6, Individual 17, Individual 18, and
Individual 19, whose identities are known to the Grand Jury, committed the felony offense of
FALSE STATEMENTS AND WRITINGS, in violation of O.C.G.A. § 16-10-20, in Fulton
County, Georgia, by knowingly, willfully, and unlawfully making and using a false document
titled "CERTIFICATE OF THE VOTES OF THE 2020 ELECTORS FROM GEORGIA," with
knowledge that said document contained the false statement, "WE, THE UNDERSIGNED,
being the duly elected and qualiﬁed Electors for President and Vice President of the United
States of America from the State of Georgia, do hereby certify the following," said document
being within the jurisdiction of the Oﬁice of the Georgia Secretary of State and the Ofﬁce of the
Governor of Georgia, departments and agencies of state government. This was an act of
racketeering activity under O.C.G.A. § 16-14-3(5)(A)(xxii) and an overt act in furtherance of the
conspiracy.

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    On or about the 14th day of December 2020, DAVID JAMES SHAFER, SHAWN
MICAH TRESHER STILL, CATHLEEN ALSTON LATHAM, and unindicted co-
conspirators Individual 2, Individual 8, Individual 9, Individual 10, Individual ll, Individual 12,
Individual 13, Individual 14, Individual 15, Individual l6, Individual l7, Individual 18, and
Individual l9, whose identities are known to the Grand Jury, attempted to commit the felony
offense of FILING FALSE DOCUMENTS, in violation of O.C.G.A. § 16-10-20.1(b)(1), in
Fulton Counw, Georgia, by placing in the United States mail a document titled "CERTIFICATE
OF THE VOTES OF THE 2020 ELECTORS FROM GEORGIA," addressed to Chief Judge,
U.S. District Court, Northern District of Georgia, 2188 Richard D. Russell Federal Oﬁice
Building and U.S. Courthouse, 75 Ted Turner Drive, SW, Atlanta, GA 30303, with intent to
knowingly ﬁle, enter, and record said document in a court of the United States, having reason to
know that said document contained the materially false statement, "WE, THE UNDERSIGNED,
being the duly elected and qualiﬁed Electors for President and Vice President of the United
States of America from the State of Georgia, do hereby certify the following." This was an act of
racketeering activity under O.C.G.A. § 16-14-3 (5)(A)(xxii) and an overt act in furtherance of the
conspiracy.




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                                             Act 83.

        On or about the 14th day of December 2020, DAVID JAMES SHAFER and SHAWN
MICAH TRESHER STILL committed the felony offense of FORGERY IN THE FIRST
DEGREE, in Violation of O.C.G.A. § 1691(b), in Fulton County, Georgia, by, with the intent
to defraud, knowingly making a document titled "RE: Notice of Filling of Electoral College
Vacancy," a writing other than a check, in such manner that the writing as made purports to have
been made by the authority of the duly elected and qualiﬁed presidential electors from the State
of Georgia, who did not give such authority, and uttered and delivered said document to the
Archivist of the United States. This was an act of racketeering activity under O.C.G.A. § 16-14-
3(5)(A)(xvi) and an overt act in furtherance of the conspiracy.

                                             Act 84.

        On or about the 14th day of December 2020, DAVID JAMES SHAFER and SHAWN
MICAH TRESHER STILL committed the felony offense of FALSE STATEMENTS AND
WRITINGS, in violation of O.C.G.A. § 16-10-20, in Fulton County, Georgia, by knowingly,
willfully, and unlawfully making and using a false document titled "RE: Notice of Filling of
Electoral College Vacancy," with knowledge that said document contained the false statements
that DAVID JAMES SHAFER was Chairman of the 2020 Georgia Electoral College Meeting
and SHAWN MICAH TRESHER STILL was Secretary of the 2020 Georgia Electoral College
Meeting, said document being within the jurisdiction of the Ofﬁce of the Georgia Secretary of
State and the Ofﬁce of the Governor of Georgia, departments and agencies of state government.
This was an act of racketeering activity under O.C.G.A. § l6-l4-3(5)(A)(xxii) and an overt act in
furtherance of the conspiracy.

                                             Act 85.

        On or about the 14th day of December 2020, DAVID JAMES SHAFER instructed
unindicted coconspirator Individual 15, whose identity is known to the Grand Jury, to deliver to
the Ofﬁce of the Governor of Georgia a document signed by DAVID JAMES SHAFER and
SHAWN MICAH TRESHER STILL titled "RE: Notice of Filling of Electoral College
Vacancy." The document contained multiple false statements. This was an overt act in
furtherance of the conspiracy.

                                             Act 86.

         On or about the 14th day of December 2020, unindicted co-conspirator Individual 4,
whose identity is known to the Grand Jury, sent an e-mail to MICHAEL A. ROMAN,
unindicted co-conspirator Individual 7, whose identity is known to the Grand Jury, and others
that stated, "All votes cast, paperwork complete, being mailed now. Ran pretty smoothly," in
reference to the December 14, 2020, meeting of Trump presidential elector nominees in Fulton
County, Georgia. This was an overt act in furtherance of the conspiracy.




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                                              Act 87.

        On or about the 14th day of December 2020, STEPHEN CLIFFGARD LEE attempted
to commit the felony offense of INFLUENCING WITNESSES, in Violation of O.C.G.A. § 16-
10-93(b)(1)(A), in Fulton County, Georgia, by traveling to the home of Ruby Freeman, a Fulton
County, Georgia, election worker, and speaking to her neighbor, with intent to knowingly engage
in misleading conduct toward Ruby Freeman, by purporting to offer her help, and with intent to
inﬂuence her testimony in an ofﬁcial proceeding in Fulton County, Georgia, concerning events
at State Farm Arena in the November 3, 2020, presidential election in Georgia. This was an act
of racketeering activity pursuant to O.C.G.A. § 16143(5)(A)(xxvii) and an overt act in
furtherance of the conspiracy.

                                              Act 88.

        On or about the 15th day of December 2020, STEPHEN CLIFFGARD LEE attempted
to commit the felony offense of INFLUENCING WITNESSES, in violation of O.C.G.A. § 16-
10-93(b)(1)(A), in Fulton County, Georgia, by traveling to the home of Ruby Freeman, a Fulton
County, Georgia, election worker, and knocking on her door, with intent to knowingly engage in
misleading conduct toward Ruby Freeman, by purporting to offer her help, and with intent t0
inﬂuence her testimony in an ofﬁcial proceeding in Fulton County, Georgia, concerning events
at State Farm Arena in the November 3, 2020, presidential election in Georgia. This was an act
of racketeering activity pursuant to O.C.G.A. § 16-14-3(5)(A)(xxvii) and an overt act in
furtherance of the conspiracy.

                                              Act 89.

         On or between the 15th day of December 2020 and the 4th day of January 2021,
STEPHEN CLIFFGARD LEE solicited HARRISON WILLIAM PRESCOTT FLOYD, an
individual associated with the organization Black Voices for Trump, to assist with his effort t0
speak to Ruby Freeman, a Fulton County, Georgia, election worker. STEPHEN CLIFFGARD
LEE stated to HARRISON WILLIAM PRESCOTT FLOYD that Freeman was afraid to talk
to STEPHEN CLIFFGARD LEE because he was a white man. These were overt acts in
furtherance of the conspiracy.

                                             Act 90.

    On or about the 18th day of December 2020, DONALD JOHN TRUMP met with
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RUDOLPH WILLIAM LOUIS GIULIANI, SIDNEY KATHERINE POWELL, unindicted
co-conspirator Individual 20, whose identity is known to the Grand Jury, and others at the White
House. The individuals present at the meeting discussed certain strategies and theories intended
to inﬂuence the outcome of the November 3, 2020, presidential election, including seizing voting
equipment and appointing SIDNEY KATHERINE POWELL as special counsel with broad
authority to investigate allegations of voter fraud in Georgia and elsewhere. This was an overt act
in furtherance of the conspiracy.




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                                             Act 91.

        On or about the 21st day of December 2020, SIDNEY KATHERINE POWELL sent
an email to the Chief Operations Ofﬁcer of SullivanStrickler LLC and instructed him that she
and unindicted co-conspirators Individual 6, Individual 21, and Individual 22, whose identities
are known to the Grand Jury, were to immediately "receive a copy of all data" obtained by
SullivanStrickler LLC from Dominion Voting Systems equipment in Michigan. This was an
overt act in furtherance of the conspiracy.

                                             Act 92.

        On or about the 22nd day of December 2020, MARK RANDALL MEADOWS
traveled to the Cobb County Civic Center in Cobb County, Georgia, and attempted to observe the
signature match audit being performed there by law enforcement ofﬁcers from the Georgia
Bureau of Investigation and the Oﬁice of the Georgia Secretary of State, despite the fact that the
audit process was not open to the public. While present at the center, MARK RANDALL
MEADOWS spoke to Georgia Deputy Secretary of State Jordan Fuchs, Ofﬁce of the Georgia
Secretary of State Chief Investigator Frances Watson, Georgia Bureau of Investigation Special
Agent in Charge Bahan Rich, and others, who prevented MARK RANDALL MEADOWS from
entering into the space where the audit was being conducted. This was an overt act in furtherance
of the conspiracy.

                                             Act 93.

        On or about the 23rd day of December 2020, DONALD JOHN TRUMP placed a
telephone call to Ofﬁce of the Georgia Secretary of State Chief Investigator Frances Watson that
had been previously arranged by MARK RANDALL MEADOWS. During the phone call,
DONALD JOHN TRUMP falsely stated that he had won the November 3, 2020, presidential
election in Georgia "by hundreds of thousands of votes" and stated to Watson that "when the
right answer comes out you'll be praised." This was an overt act in furtherance of the conspiracy.

                                             Act 94.

         On or about the 23rd day of December 2020, JOHN CHARLES EASTMAN sent an e-
mail to KENNETH JOHN CHESEBRO and unindicted co-conspirator Individual 3, whose
identity is known to the Grand Jury, with the subject "FW: Draft 2, with edits'." In the e-mail,
JOHN CHARLES EASTMAN attached a memorandum titled "PRIVILEGED AND
CONFIDENTIAL Dec 23 memo on Jan 6 scenario.docx" and stated, "As for hearings, I think
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both are unnecessary. The fact that we have multiple slates of electors demonstrates the
uncertainty of either. That should be enough. And I agree with Ken that Judiciary Committee
hearings on the constitutionality of the Electoral Count Act could invite counter views that we do
not believe should constrain Pence (or Grassley) in the exercise of power they have under the
12th Amendment. Better for them just to act boldly and be challenged, since the challenge would

likely lead to the Court denying review on nonjusticiable political question grounds." This was
an overt act in furtherance of the conspiracy.




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                                               Act 95.

         On or about the 25th day of December 2020, DONALD JOHN TRUMP placed a
telephone call to Speaker of the Arizona House of Representatives Rusty Bowers for the purpose
of soliciting, requesting, and importuning Bowers to unlawfully appoint presidential electors
from Arizona. During the call, Bowers stated to Trump, "I voted for you. I worked for you. I
campaigned for you. I just won't d0 anything illegal for you." This telephone call was an overt
act in furtherance of the conspiracy.

                                               Act 96.

        On or about the 27th day of December 2020, MARK RANDALL MEADOWS sent a
text message to Ofﬁce of the Georgia Secretary of State Chief Investigator Frances Watson that
stated in part, "Is there a way to speed up Fulton county signature veriﬁcation in order to have
results before Jan 6 if the trump campaign assist ﬁnancially." This was an overt act in furtherance
of the conspiracy.

                                               Act 97.

        On or about the 27th day of December 2020, DONALD JOHN TRUMP solicited
Acting United States Attorney General Jeffrey Rosen and Acting United States Deputy Attorney
General Richard Donoghue to make a false statement by stating, "Just say that the election was
corrupt, and leave the rest to me and the Republican congressmen." This was an overt act in
furtherance of the conspiracy.

                                              Act 98.

         On or about the 28th day of December 2020, JEFFREY BOSSERT CLARK attempted
 to commit the felony oﬁense of FALSE STATEMENTS AND WRITINGS, in violation of
 O.C.G.A. § 16-10-20, in Fulton County, Georgia, by knowingly and willfully making a false
 writing and document knowing the same to contain the false statement that the United States
Department of Justice had "identiﬁed signiﬁcant concerns that may have impacted the outcome
 of the election in multiple States, including the State of Georgia," said statement being within the
jurisdiction of the Ofﬁce of the Georgia Secretary of State and the Georgia Bureau of
Investigation, departments and agencies of state government, and county and city law
enforcement agencies;

        And on or about the 28th day of December 2020, JEFFREY BOSSERT CLARK sent
an e-mail to Acting United States Attorney General Jeffrey Rosen and Acting United States
Deputy Attorney General Richard Donoghue and requested authorization to send said false
writing and document to Georgia Governor Brian Kemp, Speaker of the Georgia House of
Representatives David Ralston, and President Pro Tempore of the Georgia Senate Butch Miller,
which constitutes a substantial step toward the commission of False Statements and Writings,
O.C.G.A. § 16-1020. This was an act of racketeering activity under O.C.G.A. § 16-14-
3(5)(A)(xxii) and an overt act in furtherance of the conspiracy.



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                                              Act 99.

        On or about the 28th day 0f December 2020, JEFFREY BOSSERT CLARK solicited
Acting United States Attorney General Jeffrey Rosen and Acting United States Deputy Attorney
General Richard Donoghue to sign and send a document that falsely stated that the United States
Department of Justice had "identiﬁed signiﬁcant concerns that may have impacted the outcome
of the election in multiple States, including the State of Georgia," to Georgia Governor Brian
Kemp, Speaker of the Georgia House of Representatives David Ralston, and President Pro
Tempore of the Georgia Senate Butch Miller. This was an overt act in furtherance of the
conspiracy.

                                             Act 100.

       On or about the 30th day of December 2020, DONALD JOHN TRUMP caused to be
tweeted from the Twitter account @RealDonaldTrump, "Hearings from Atlanta on the Georgia
Election overturn now being broadcast. Check it out. @OANN @newsmax and many more.
@BrianKempGA should resign from ofﬁce. He is an obstructionist who refuses to admit that we
won Georgia, BIG! Also won the other Swing States." This was an overt act in furtherance of the
conspiracy.

                                             Act 101.

       On or about the 30th day of December 2020, DONALD JOHN TRUMP caused to be
tweeted from the Twitter account @RealDonaldTrump, "Hearings from Atlanta on the Georgia
Election overturn now being broadcast LIVE via @RSBNetwork! https://t.co/ogBvaKfqG."
This was an overt act in furtherance of the conspiracy.

                                             Act 102

        On or about the 30th day 0f December 2020, RUDOLPH WILLIAM LOUIS
GIULIANI, RAY STALLINGS SMITH III, and ROBERT DAVID CHEELEY committed
the felony oﬁense of SOLICITATION OF VIOLATION OF OATH BY PUBLIC OFFICER,
in violation of O.C.G.A. §§ 16-4-7 & 16-10-1, in Fulton County, Georgia, by soliciting,
requesting, and importuning certain public ofﬁcers then serving as elected members of the
Georgia Senate and present at a Senate Judiciary Subcommittee meeting, including unindicted
co-conspirator Individual 8, whose identity is known to the Grand Jury, Senators Brandon Beach,
Bill Heath, William Ligon, Michael Rhett, and Blake Tillery, to engage in conduct constituting
the felony oﬁense of Violation of Oath by Public Oﬁicer, O.C.G.A. § l6-lO-l, by unlawfully
appointing presidential electors from the State of Georgia, in willful and intentional violation of
the terms of the oath of said persons as prescribed by law, with intent that said persons engage in
said conduct. This was an overt act in furtherance of the conspiracy.




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                                              Act 103.

        On or about the 30th day of December 2020, RUDOLPH WILLIAM LOUIS
GIULIANI committed the felony offense of FALSE STATEMENTS AND WRITINGS, in
Violation of 0.C.G.A. § 16-10-20, in Fulton County, Georgia, by knowingly, willfully, and
unlawfully making at least one of the following false statements and representations to members
of the Georgia Senate present at a Senate Judiciary Subcommittee meeting:

    l. That Fulton County election workers ﬁaudulently counted certain ballots as many
         as ﬁve times at State Farm Arena on November 3, 2020;

    2.   That 2,560 felons voted illegally in the November 3, 2020, presidential election in
         Georgia;

    3.   That 10,315 dead people voted in the November 3, 2020, presidential election in
         Georgia;

said statements being within the jurisdiction of the Office of the Georgia Secretary of State and
the Georgia Bureau of Investigation, departments and agencies of state government, and county
and city law enforcement agencies. This was an act of racketeering activity under 0.C.G.A. § 16-
14-3 (5)(A)(xxii) and an overt aCt in furtherance of the conspiracy.

                                              Act 104

       On or about the 30th day of December 2020, RAY STALLINGS SMITH III
committed the felony offense of FALSE STATEMENTS AND WRITINGS, in violation of
0.C.G.A. § 16-10-20, in Fulton County, Georgia, by knowingly, willfully, and unlawﬁllly
making at least one of thefollowing false statements and representations to members of the
Georgia Senate present at a Senate Judiciary Subcommittee meeting:

    1.   That Georgia Secretary of State General Counsel Ryan Germany stated that his
         ofﬁce had sent letters to 8,000 people who voted illegally in the November 3,
         2020, presidential election and told them not to vote in the January 5, 2021, runoﬂ'
         election;

   2.    That the Georgia Secretary of State admitted "that they had a 90% accuracy rate"
         in the November 3, 2020, presidential election and that "there's still a 10% margin
         that's not accurate";

said statements being within the jurisdiction of the Ofﬁce of the Georgia Secretary of State and
the Georgia Bureau of Investigation, departments and agencies of state government, and county
and city law enforcement agencies. This was an act of racketeering activity under 0.C.G.A. § l6-
l43 (5)(A)(xxii) and an overt act in furtherance of the conspiracy.




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                                             Act105-

        On or about the 30th day of December 2020, ROBERT DAVID CHEELEY committed
the felony offense of FALSE STATEMENTS AND WRITINGS, in Violation of O.C.G.A. §
16-10-20, in Fulton County, Georgia, by knowingly, willfully, and unlawﬁllly making at least
one of the following false statements and representations to members of the Georgia Senate
present at a Senate Judiciary Subcommittee meeting:

    1.   That poll watchers and media at State Farm Arena were told late in the evening of
         November 3, 2020, that the vote count was being suspended until the next
         morning and to go home because of "a major watermain break";

    2.   That Fulton County election workers at State Farm Arena "voted" the same
         ballots "over and over again" on November 3, 2020;

said statements being within the jurisdiction of the Office of the Georgia Secretary of State and
the Georgia Bureau of Investigation, departments and agencies of state government, and county
and city law enforcement agencies. This was an act of racketeering activity under O.C.G.A. § l6
14-3 (5)(A)(xxii) and an overt act in furtherance of the conspiracy.

                                             Act 106.

        On or about the 30th day of December 2020, DONALD JOHN TRUMP caused to be
tweeted from the Twitter account @RealDonaldTrump, "We now have far more votes than
needed to ﬂip Georgia in the Presidential race. Massive VOTER FRAUD took place. Thank you
to the Georgia Legislature for today's revealing meeting!" This was an overt act in furtherance of
the conspiracy.


                                             Act107-

       On or about the 3lst day of December 2020, JENNA LYNN ELLIS wrote a
memorandum titled "Memorandum Re: Constitutional Analysis 0f Vice President Authority for
January 6, 2021 Electoral College Vote Count" to DONALD JOHN TRUMP. The
memorandum outlined a strategy for disrupting and delaying the joint session of Congress on
January 6, 2021, the day prescribed by law for counting votes cast by the duly elected and
qualiﬁed presidential electors from Georgia and the other states, and stated, "the Vice President
should therefore not open any of the votes" from six states, including Georgia, that were falsely
characterized as having "electoral delegates in dispute." This was an overt act in furtherance of
the conspiracy.




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                                              Act 108.

    On or about the 31st day of December 2020, DONALD JOHN TRUNIP and JOHN
CHARLES EASTMAN committed the felony offense of FILING FALSE DOCUMENTS, in
violation of O.C.G.A. § 16-10-20.1(b)(1), in Fulton County, Georgia, by knowingly ﬁling a
document titled "VERIFIED COMPLAINT FOR EMERGENCY INJUNCTIVE AND
DECLARATORY RELIEF" in the matter of Trump V. Kemp, Case 1:20cv05310-MHC, in the
United States District Court for the Northern District of Georgia, a court of the United States
having reason to know that said document contained at least one of the following materially false
statements:

    l. That "as many as 2,506 felons with an uncompleted sentence" voted illegally in the
         November 3, 2020, presidential election in Georgia;

    2.   That "at least 66,247 underage" people voted illegally in the November 3, 2020,
         presidential election in Georgia;

    3.   That "at least 2,423 individuals" voted illegally in the November 3, 2020, presidential
         election in Georgia "who were not listed in the State's records as having been registered
         to vote";

   4. That "at least 1,043 individuals" voted illegally in the November 3, 2020, presidential
      election "who had illegally registered to vote using a postal ofﬁce box as their
         habitation";
                                                                      -




    5.   That "as many as 10,315 or more" dead people voted in the November 3, 2020,
         presidential election in Georgia;

    6. That "[d]eliberate misinformation was used to instruct Republican poll watchers and
       members of the press to leave the premises for the night at approximately 10:00 p.m. on
       November 3, 2020" at State Farm Arena in Fulton County, Georgia;

Earlier on the same day, JOHN CHARLES EASTMAN sent an email to attorneys associated
with the Trump Campaign admitting his knowledge that at least some of the allegations in the
veriﬁed complaint were not accurate. This ﬁling was an act of racketeering activity under
O.C.G.A. § 16-14-3(5)(A)(xxii) and an overt act in furtherance of the conspiracy.

                                              Act 109.

        On or about the lst day of January 2021, KENNETH JOHN CHESEBRO sent an e
mail to JOHN CHARLES EASTMAN and unindicted co-conspirator Individual 3, whose
identity is known to the Grand Jury. In the e-mail, KENNETH JOHN CHESEBRO outlined a
strategy for disrupting and delaying the joint session of Congress on January 6, 2021, the day
prescribed by law for counting votes cast by the duly elected and qualiﬁed presidential electors
from Georgia and the other states. This was an overt act in furtherance of the conspiracy.




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                                             Act 110.

       On or about the 2nd day 0f January 2021, SCOTT GRAHAM HALL, a Georgia bail
bondsman, placed a telephone call to JEFFREY BOSSERT CLARK and discussed the
November 3, 2020, presidential election in Georgia. The telephone call was 63 minutes in
duration. This was an overt act in furtherance of the conspiracy.

                                             Act 111.

        On or about the 2nd day 0f January 2021, JEFFREY BOSSERT CLARK solicited
Acting  United  States Attorney General J eﬁ'rey Rosen and Acting United States Deputy Attorney
General Richard Donoghue to sign and send a document that falsely stated that the United States
Department of Justice had "identiﬁed signiﬁcant concerns that may have impacted the outcome
of the election in multiple States, including the State of Georgia," to Georgia Governor Brian
Kemp, Speaker of the Georgia House of Representatives David Ralston, and President Pro
Tempore of the Georgia Senate Butch Miller. This was an overt act in furtherance of the
conspiracy.

                                             Act 112.

     On or about the 2nd day 0f January 2021, DONALD JOHN TRUMP and MARK
RANDALL MEADOWS committed the felony offense of SOLICITATION OF VIOLATION
OF OATH BY PUBLIC OFFICER, in violation of O.C.G.A. §§ 16-4-7 & 16-10-1, in Fulton
County, Georgia, by unlawfully soliciting, requesting, and importuning Georgia Secretary of
State Brad Raffensperger, a public ofﬁcer, to engage in conduct constituting the felony offense of
Violation of Oath by Public Oﬁicer, O.C.G.A. § 16-10-1, by unlawfully altering, unlawfully
adjusting, and otherwise unlawfully inﬂuencing the certiﬁed returns for presidential electors for
the November 3, 2020, presidential election in Georgia, in willful and intentional violation of the
terms of the oath of said person as prescribed by law, with intent that said person engage in said
conduct. This was an overt act in furtherance of the conspiracy.




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                                                Act 113.

        On or about the 2nd day of January 2021, DONALD JOHN TRUMP committed the
felony offense of FALSE STATEMENTS AND WRITINGS, in violation of O.C.G.A. § 16-
10-20, in Fulton County, Georgia, by knowingly, willfully, and unlawfully making at least one of
the following false statements and representations to Georgia Secretary of State Brad
Raffensperger, Georgia Deputy Secretary of State Jordan Fuchs, and Georgia Secretary of State
General Counsel Ryan Germany:

       l. That anywhere from 250,000 to 300,000 ballots were dropped mysteriously
            into the rolls in the November 3, 2020, presidential election in Georgia;

       2.   That thousands of people attempted to vote in the November 3, 2020,
            presidential election in Georgia and were told they could not because a ballot
            had already been cast in their name;

       3.   That 4,502 people voted in the November 3, 2020, presidential election in
            Georgia who were not on the voter registration list;

       4.   That 904 people voted in the November 3, 2020, presidential election in
            Georgia who were registered at an address that was a post ofﬁce box;

       5.   That Ruby Freeman was a. professional vote scammer and a known political
            operative;

       6.   That Ruby Freeman, her daughter, and others were responsible for
            fraudulently awarding at least 18,000 ballots to Joseph R. Biden at State Farm
            Arena in the November 3, 2020, presidential election in Georgia;

       7.   That close to 5,000 dead people voted in the November 3, 2020, presidential
            election in Georgia;

       8.   That 139% of people voted in the November 3, 2020, presidential election in
            Detroit;

       9.   That 200,000 more votes were recorded than the number of people who voted
            in the November 3, 2020, presidential election in Pennsylvania;

       10. That thousands of dead people voted in the November 3, 2020, presidential
            election in Michigan;

       l l. That Ruby Freeman stuﬁ'ed the ballot boxes;

       12. That hundreds of thousands of ballots had been "dumped" into Fulton County
           and another county adjacent to Fulton County in the November 3, 2020,
            presidential election in Georgia;



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        13. That he won the November 3, 2020, presidential election in Georgia by
           400,000 votes;

said statements being within the jurisdiction of the Oﬁice of the Georgia Secretary of State and
the Georgia Bureau of Investigation, departments and agencies of state government. This was an
act of racketeering activity under O.C.G.A. § 16-14-3 (5)(A)(xxii) and an overt act in furtherance
of the conspiracy.

                                              Act 114.

        On or about the 3rd day of January 2021, DONALD JOHN TRUMP caused to be
tweeted from the Twitter account @RealDonaldTrump, "I spoke to Secretary of State Brad
Raﬁensperger yesterday about Fulton County and voter fraud in Georgia. He was unwilling, or
unable, to answer questions such as the 'ballots under table' scam, ballot destruction, out of state
'voters', dead voters, and more. He has no clue!" This was an overt act in furtherance of the
conspiracy.




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                                             ALIS.-
     On or about the 3rd day of January 2021, STEPHEN CLIFFGARD LEE,
HARRISON WILLIAM PRESCOTT FLOYD, and TREVIAN C. KUTTI placed multiple
telephone calls and sent text messages to each other and to other individuals involved in the
conspiracy. They include the following:

        l. At 7:48 p.m., HARRISON WILLIAM PRESCOTT FLOYD placed a telephone
            call to Ruby Freeman, a Fulton County, Georgia, election worker, that was
            unsuccessful.

       2.   At 7:49 p.m., HARRISON WILLIAM PRESCOTT FLOYD placed a telephone
            call to Ruby Freeman that was unsuccessful.

       3.   At 7:49 p.m., HARRISON WILLIAM PRESCOTT FLOYD placed a telephone
            call to TREVIAN C. KUTTI.

       4.   At 7:53 p.m., HARRISON WILLIAM PRESCOTT FLOYD sent a text message to
            Ruby Freeman.

       5.   At 8:03 p.m., TREVIAN C. KUTTI placed a telephone call to HARRISON
            WILLIAM PRESCOTT FLOYD.
       6.   At 8:11 p.m., HARRISON WILLIAM PRESCOTT FLOYD placed a telephone
            call to unindicted co-conspirator Individual 23, who'se identity is known to the Grand
            Jury.

       7.   At 8:18 p.m., HARRISON WILLIAM PRESCOTT FLOYD placed a telephone
            call to STEPHEN CLIFFGARD LEE.

       8.   At 8:48 p.m., HARRISON WILLIAM PRESCOTT FLOYD placed a telephone
            call to TREVIAN C. KUTTI.

       9.   At 9:16 p.m., HARRISON WILLIAM PRESCOTT FLOYD placed a telephone
            call to TREVIAN C. KUTTI.
                                                                   '




       10. At 9:33 p.m., HARRISON WILLIAM PRESCOTT FLOYD placed a telephone
            call to TREVIAN C. KUTTI.

       11. At 9:50 p.m., HARRISON WILLIAM PRESCOTT FLOYD placed a telephone
            call to STEPHEN CLIFFGARD LEE.

These were overt acts in furtherance of the conspiracy.




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                                            ALILQ-
       On or about the 4th day of January 2021, TREVIAN C. KUTTI, having been recruited
by HARRISON WILLIAM PRESCOTT FLOYD, traveled from Chicago, Illinois, to Atlanta,
Georgia, and caused a certain individual, Whose identity is known to the Grand Jury, to pick her
up ﬁom a train station in Fulton County, Georgia, for the purpose of attempting to contact Ruby
Freeman, a Fulton County, Georgia, election worker. This was an overt act in furtherance of the
conspiracy.

                                            Act 117.

        On or about the 4th day of January 2021, TREVIAN C. KUTTI traveled to Ruby
Freeman's home in Cobb County, Georgia, and attempted to contact her but was unsuccessful.
TREVIAN C. KUTTI spoke with Freeman's neighbor and falsely stated that she was a crisis
manager attempting to "help" Freeman before leaving Freeman's home. This was an overt act in
furtherance of the conspiracy.

                                            Act 118.

       On or about the 4th day of January 2021, TREVIAN C. KUTTI, while in Fulton
County, Georgia, placed a telephone call to Ruby Freeman and stated that Freeman was in
danger. TREVIAN C. KUTTI stated that she could "help" Freeman and requested that Freeman
meet with and speak to her that night at a Cobb County Police Department precinct in Cobb
County, Georgia. This was an overt act in furtherance of the conspiracy.

                                            Act112

      On or about the 4th day of January 2021, TREVIAN C. KUTTI traveled to a Cobb
County Police Department precinct in Cobb County, Georgia, and met with and spoke to Ruby
Freeman for approximately one hour. HARRISON WILLIAM PRESCOTT FLOYD joined
the meeting by telephone. TREVIAN C. KUTTI and HARRISON WILLIAM PRESCOTT
FLOYD stated to Freeman that she needed protection and purported to offer her help. This was
an overt act in ﬁthherance of the conspiracy.




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                                            Act 120.

       On or about the 4th day of January 2021 STEPHEN CLIFFGARD LEE,
HARRISON WILLIAM PRESCOTT FLOYD, and TREVIAN C. KUTTI committed the
felony offense of SOLICITATION OF FALSE STATEMENTS AND WRITINGS, in
Violation of O.C.G.A. §§ 16-4-7 & 16-10-20, in Cobb County, Georgia, by soliciting, requesting,
and importuning Ruby Freeman, a Fulton County, Georgia, election worker, to engage in
conduct constituting the felony offense of False Statements and Writings, O.C.G.A. § 16-10-20,
by knowingly and willfully making a false statement and representation concerning events at
State Farm Arena in the November 3, 2020, presidential election in Georgia, said statement and
representation being within the jurisdiction of the Ofﬁce of the Georgia Secretary of State and
the Georgia Bureau of Investigation, departments and agencies of state government, and county
and city law enforcement agencies, with intent that said person engage in said conduct. This was
an act of racketeering activity under O.C.G.A. § l614-3(5)(A)(xxii) and an overt act in
furtherance of the conspiracy.

                                            Act 121.

       On or about the 4th day of January 2021 STEPHEN CLIFFGARD LEE,
HARRISON WILLIAM PRESCOTT FLOYD, and TREVIAN C. KUTTI committed the
felony offense of INFLUENCING WITNESSES, in violation of O.C.G.A. § 16-10-
93(b)(1)(A), in Fulton County, Georgia, by knowingly and unlawfully engaging in misleading
conduct toward Ruby Freeman, a Fulton County, Georgia, election worker, by stating that she
needed protection and by purporting to offer her help, with intent to inﬂuence her testimony in
an ofﬁcial proceeding in Fulton County, Georgia, concerning events at State Farm Arena in the
November 3, 2020, presidential election in Georgia. This was an act of racketeering activity
under O.C.G.A. § 16-14-3 (5)(A)(xxvii) and an overt act in furtherance of the conspiracy.




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                                             Act 122.

     On or about the 4th day of January 2021, STEPHEN CLIFFGARD LEE,
HARRISON WILLIAM PRESCOTT FLOYD, and TREVIAN C. KUTTI placed multiple
telephone calls and sent text messages to each other and to other individuals involved in the
conspiracy. They include the following:

    l. At 9:41 a.m., STEPHEN CLIFFGARD LEE placed a telephone call to HARRISON
       WILLIAM PRESCOTT FLOYD.
    2       At 11:24 a.m., HARRISON WILLIAM PRESCOTT FLOYD placed a telephone call
            to DAVID JAMES SHAFER.

    3       At 12:25 p.m., STEPHEN CLIFF GARD LEE placed a telephone call to HARRISON
            WILLIAM PRESCOTT FLOYD.
    4       At 12:32 p.m., STEPHEN CLIFFGARD LEE sent a text message to HARRISON
            WILLIAM PRESCOTT FLOYD.
    5       At 8:10 p.m., HARRISON WILLIAM PRESCOTT FLOYD placed a telephone call to
            DAVID JAMES SHAFER.

    6       At 10:00 p.m., HARRISON WILLIAM PRESCOTT FLOYD placed a telephone call
            to STEPHEN CLIFFGARD LEE.

    7       At 10:19 p.m., HARRISON WILLIAM PRESCOTT FLOYD placed a telephone call
        ~
            to TREVIAN C. KUTTI.

            At 10:43 p.m., TREVIAN C. KUTTI placed a telephone call to HARRISON
            WILLIAM PRESCOTT FLOYD.
    9       At 11:10 p.m., TREVIAN C. KUTTI placed a telephone call to HARRISON
            WILLIAM PRESCOTT FLOYD.
    10. At 12:12 a.m. on January 5, 2021', TREVIAN C. KUTTI placed a telephone call to
            HARRISON WILLIAM PRESCOTT FLOYD.

These were overt acts in furtherance of the conspiracy.




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                                              Act 123.

       On or about the 4th day of January 2020, JOHN CHARLES EASTMAN placed a
telephone call to Speaker of the Arizona House of Representatives Rusty Bowers and solicited,
requested, and importuned Bowers to unlawﬁilly appoint presidential electors from Arizona.
During the telephone call, Bowers declined to comply with Eastman's request and stated that he
would not risk Violating his oath of oﬁice. The request was an overt act in furtherance of the
                                                '



conspiracy.

                                             Act 124.

        On or about the 4th day 0f January 2021, KENNETH JOHN CHESEBRO sent an e-
mail to JOHN CHARLES EASTMAN with the subject "Fwd: Draft 2, with edits" and included
within the body of the e-mail another e-mail that KENNETH JOHN CHESEBRO previously
sent to RUDOLPH WILLIAM LOUIS GIULIANI with the subject "PRIVILEGED AND
CONFIDENTIAL Brief notes on 'President of the Senate' strategy." In the email, KENNETH
                   




JOHN CHESEBRO outlined multiple strategies for disrupting and delaying the joint session of
Congress on January 6, 2021, the day prescribed by law for counting votes cast by the duly
elected and qualiﬁed presidential electors from Georgia and the other states, and stated that the
outcomes of any of these strategies were "preferable to allowing the Electoral Count Act to
operate by its terms." This was an overt act in furtherance of the conspiracy.

                                             Act 123.

         On or about the 4th day of January 2021, DONALD JOHN TRUMP and JOHN
CHARLES EASTMAN met with Vice President Mike Pence, Chief of Staﬂ' to the Vice
President Marc Short, and Counsel to the Vice President Greg Jacob in the Oval Ofﬁce at the
White House. During the meeting, DONALD JOHN TRUMP and JOHN CHARLES
EASTMAN argued to Pence that he could either reject electoral votes from certain states or
delay the joint session of Congress on January 6, 2021, the day prescribed by law for counting
votes cast by the duly elected and qualiﬁed presidential electors from Georgia and the other
states, for the purpose of allowing certain state legislatures to unlawfully appoint presidential
electors in favor of DONALD JOHN TRUMP. During the meeting, JOHN CHARLES
EASTMAN admitted both options violated the Electoral Count Act. This was an overt act in
furtherance of the conspiracy.




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                                            Act126-

         On or about the 5th day 0f January 2021, JENNA LYNN ELLIS wrote a memorandum
titled "Re: Vice President Authority in Counting Electors pursuant to U.S. Constitution and 3
U.S. Code §§ 5 and 15" to an attorney associated with DONALD JOHN TRUMP. The
memorandum outlined a strategy for disrupting and delaying the joint session of Congress on
January 6, 2021, the day prescribed by law for counting votes cast by the duly elected and
qualiﬁed presidential electors from Georgia and the other states, and stated, "the Vice President
should begin alphabetically in order of the states, and coming ﬁrst to Arizona, not open the
purported certiﬁcation, but simply stop the count at that juncture." This was an overt act in
furtherance of the conspiracy.




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                                            Act 127

       On or about the 5th day of January 2021, ROBERT DAVID CHEELEY, STEPHEN
CLIFFGARD LEE, HARRISON WILLIAM PRESCOTT FLOYD, TREVIAN C. KUTTI,
and SCOTT GRAHAM HALL placed multiple telephone calls to each other and to other
individuals involved in the conspiracy. They include the following:

       l. At 11:32 a.m., STEPHEN CLIFFGARD LEE placed a telephone call to TREVIAN
           C. KUTTI.

       2   At 12:14 p.m., HARRISON WILLIAM PRESCOTT FLOYD, TREVIAN C.
           KUTTI, STEPHEN CLIFFGARD LEE, and unindicted coconspirator Individual
           23, whose identity is known to the Grand Jury, participated in a four-way telephone
           call.

       3   At 12:19 p.m., SCOTT GRAHAM HALL placed a telephone call to ROBERT
           DAVID CHEELEY.

       4   At 12:34 p.m., SCOTT GRAHAM HALL placed a telephone call to ROBERT
           DAVID CHEELEY.

       5   At 1:07 p.m., ROBERT DAVID CHEELEY placed a telephone call to SCOTT
           GRAHAM HALL.

       6   At 1:09 p.m., ROBERT DAVID CHEELEY placed a telephone call to SCOTT
           GRAHAM HALL.

       7   At 2:30 p.m., ROBERT DAVID CHEELEY placed a telephone call to HARRISON
           WILLIAM PRESCOTT FLOYD.
           At 2:45 p.m., HARRISON WILLIAM PRESCOTT FLOYD placed a telephone
           call to ROBERT DAVID CHEELEY.

       9
       o
           At 3:5 9 p.m., ROBERT DAVID CHEELEY placed a telephone call to SCOTT
           GRAHAM HALL.

       10. At 4:42 p.m., STEPHEN CLIFFGARD LEE placed a telephone call to ROBERT
           DAVID CHEELEY.

       ll. At 4:50 p.m., STEPHEN CLIFFGARD LEE placed a telephone call to
           HARRISON WILLIAM PRESCOTT FLOYD.

       12. At 5:05 p.m., STEPHEN CLIFFGARD            LEE placed a telephone call to
           HARRISON WILLIAM PRESCOTT FLOYD.




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        13. At 7:19 p.m., TREVIAN C. KUTTI placed a telephone call to ROBERT DAVID
           CIIEELEY.
        14. At 7:48 p.m., ROBERT DAVID CHEELEY placed a telephone call to TREVIAN
           C. KUTTI.

        15. At 8:27 p.m., ROBERT DAVID CHEELEY placed a telephone call to TREVIAN
           C. KUTTI.

        16. At 8:49 p.m., ROBERT DAVID CHEELEY placed a telephone call to STEPHEN
           CLIFFGARD LEE.
        l7. At 9:18 p.m., SCOTT GRAHAM HALL placed a telephone call to ROBERT
           DAVID CHEELEY.

        18. At 9:31 p.m., TREVIAN C. KUTTI placed a telephone call t0 ROBERT DAVID
           CHEELEY.
       19. At 10:14 p.m., ROBERT DAVID CHEELEY placed a telephone call to STEPHEN
           CLIFFGARD LEE.
       20. At 11:16 p.m., ROBERT DAVID CHEELEY placed a telephone call to TREVIAN
           C. KUTTI.

       21. At 11:25 p.m., SCOTT GRAHAM HALL placed a telephone call to ROBERT
           DAVID CHEELEY.

       22. At 11:35 p.m., ROBERT DAVID CHEELEY, TREVIAN C. KUTTI, and SCOTT
           GRAHAM HALL participated in a threeway telephone call.

       23. At 12:09 afm. on January 6, 2021, TREVIAN C. KUTTI placed a telephone call to
           ROBERT DAVID CHEELEY.
                                                            '




These were overt acts in furtherance of the conspiracy.

                                            Act 128.

         On or about the 5th day of January 2021, DONALD JOHN TRUMP caused to be
tweeted from the Twitter account @RealDonaldTrump, "The Vice President has the power to
reject fraudulently chosen electors." This was an overt act in furtherance of the conspiracy.




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                                               Act 129.

        On or about the 5th day of January 2021, JOHN CHARLES EASTMAN met with
Chief of Staff to the Vice President Marc Short and Counsel to the Vice President Greg Jacob for
the purpose of requesting that Vice President Mike Pence reject slates of presidential electors
from Georgia and certain other states during the joint session of Congress on January 6, 2021,
the day prescribed by law for counting votes cast by the duly elected and qualiﬁed presidential
electors from Georgia and the other states. This was an overt act in furtherance of the conspiracy.

                                               Act 130.

        On or about the 5th day of January 2021, DONALD JOHN TRUMP met with Vice
President Mike Pence in the Oval Ofﬁce at the White House. During the meeting, DONALD
JOHN TRUMP stated that Pence had the power to decertify the November 3, 2020, presidential
election results, that people cheated, and that Pence wanted to "play by Marquess of Queensberry
rules." When Pence stated that it was his duty to support and defend the Constitution and that
only Congress had the power to decide to reject slates of presidential electors, DONALD JOHN
TRUMP stated that Pence was naive, implied that he lacked courage, and stated that Pence was
doing "a great disservice." This was an overt act in furtherance of the conspiracy.

                                               Act 131.

        On or about the 5th day of January 2021, DONALD JOHN TRUMP placed a
telephone call to Vice President Mike Pence. During the telephone call, DONALD JOHN
TRUMP and JOHN CHARLES EASTMAN attempted to persuade Pence to reject slates of
presidential electors or return the slates of presidential electors to state legislatures. This was an
overt act in furtherance of the conspiracy.

                                               Act 132.

        On or about the 5th day of January 2021, DONALD JOHN TRUMP placed a second
telephone call to Vice President Mike Pence. During the telephone call, DONALD JOHN
TRUMP asked Pence if he had received a copy of a letter from a group of Pennsylvania
legislators urging Congress to return the state's electoral college votes and stated to Pence, "You
gotta be tough tomorrow." This was an overt act in furtherance of the conspiracy.

                                               Act 133.

        On or about the 5th day of January 2021, DONALD JOHN TRUMP issued a
statement through the Trump Campaign that falsely stated, "The Vice President and I are in total
agreement that the Vice President has the power to act.     Our Vice President has several options
under the U.S. Constitution. He can decertify the results or send them back to the states for
change and certiﬁcation. He can also decertify the illegal and corrupt results and send them to
the House of Representatives for the one vote for one state tabulation." This was an overt act in
furtherance of the conspiracy.




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                                            Act 134.

         On or about the 6th day of January 2021, CATI-ILEEN ALSTON LATHAM placed a
telephone call to SCOTT GRAHAM HALL. Several hours later, SCOTT GRAHAM HALL
placed a telephone call to CATHLEEN ALSTON LATHAM. During at least one of the phone
calls, they discussed SCOTT GRAHAM HALL's request to assist with the unlawﬁJl breach of
election equipment at the Coffee County Board of Elections & Registration Ofﬁce in Coffee
County, Georgia. These were overt acts in furtherance of the conspiracy.

                                            Act 135.

        On or about the 6th day of January 2021, DONALD JOHN TRUMP appeared and
spoke at a rally at the Ellipse in Washington, D.C. During the rally, DONALD JOHN TRUMP
made false statements concerning fraud in the November 3, 2020, presidential election in
Georgia and elsewhere, solicited Vice President Mike Pence to disrupt and delay the joint session
of Congress on January 6, 2021, the day prescribed by law for counting votes cast by the duly
elected and qualiﬁed presidential electors from Georgia and the other states, and encouraged
those in attendance at the rally to march to the United States Capitol. This was an overt act in
furtherance of the conspiracy.

                                            Act 136.

        On or about the 6th day of January 2021, RUDOLPH WILLIAM LOUIS GIULIANI
appeared and spoke at a rally at the Ellipse in Washington, D.C. During the rally, RUDOLPH
WILLIAM LOUIS GIULIANI made false statements concerning fraud in the November 3,
2020, presidential election in Georgia and elsewhere and solicited Vice President Mike Pence to
disrupt and delay the joint session of Congress on January 6, 2021, the day prescribed by law for
counting votes cast by the duly elected and qualiﬁed presidential electors from Georgia and the
other states. This was an overt act in furtherance of the conspiracy.

                                            Act 137.

         On or about the 6th day of January 2021, JOHN CHARLES EASTMAN appeared and
spoke a rally at the Ellipse in Washington, D.C. During the rally, JOHN CHARLES
        at
EASTMAN made false statements concerning fraud in the November 3, 2020, presidential
election and solicited Vice President Mike Pence to disrupt and delay the joint session of
Congress on January 6, 2021, the day prescribed by law for counting votes cast by the duly
elected and qualiﬁed presidential electors from Georgia and the other states. This was an overt
act in furtherance of the conspiracy.




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                                            Act 138

         On or about the 6th day of January 2021, DONALD JOHN TRUMP caused to be
tweeted from the Twitter account @RealDonaldTrump, "If Vice President @Mike_Pence comes
through for us, we will Win the Presidency. Many States want to decertify the mistake they made
in certifying incorrect & even fraudulent numbers in a process NOT approved by their State
Legislatures (which it must be). Mike can send it back!" This was an overt act in furtherance of
the conspiracy.

                                            Act 139.

         On or about the 6th day of January 2021, DONALD JOHN TRUMP caused to be
tweeted from the Twitter account @RealDonaldTrump, "States want to correct their votes, which
they now know were based on irregularities and fraud, plus corrupt process never received
legislative approval. All Mike Pence has to do is send them back to the States, AND WE WIN.
Do it Mike, this is a time for extreme courage!" This was an overt act in furtherance of the
conspiracy.

                                            Act 140.

        On or about the 6th day of January 2021, DONALD JOHN TRUMP placed a
telephone call t0 Vice President Mike Pence and solicited him to disrupt and delay the joint
session of Congress on January 6, 2021, the day prescribed by law for counting votes cast by the
duly elected and qualiﬁed presidential electors from Georgia and the other states. When Pence
refused, DONALD JOHN TRUMP stated that Pence would "go down as a wimp" and that
Pence was not protecting the United States. This was an overt act in furtherance of the
conspiracy.




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                                             Act 141.

        On or about the 6th day of January 2021, JOHN CHARLES EASTMAN sent an e-
mail to Counsel to the Vice President Greg Jacob that stated:

       "The Senate and House have both violated the Electoral Count Act this evening     




       they debated the Arizona objections for more than 2 hours. Violation of 3 USC
       l7. And the VP allowed fmther debate or statements by leadership after the
       question had been voted upon. Violation of 3 USC 17. And they had that debate
       upon motion approved by the VP, in violation of the requirement in 3 USC 15 that
       after the vote in the separate houses, 'they shall immediately again meet.'

       So now that the precedent has been set that the Electoral Count Act is not quite so
       sacrosanct as was previously claimed, I implore you to consider one more
       relatively minor violation and adjourn for 10 days to allow the legislatures to
       ﬁnish their investigations, as well as to allow a full forensic audit of the massive
       amount of illegal activity that has occurred here. If none of that moves the
       needle, at least a good portion of the 75 million people who supported President
       Trump will have seen a process that allowed the illegality to be aired.

       John"

This was an overt act in furtherance of the conspiracy.

                                             Act 142.

        On or about the 7th day of January 2021, CATI-ILEEN ALSTON LATHAM sent a
text message to the Chief Operations Ofﬁcer of SullivanStrickler LLC with the address for the
Douglas Municipal Airport in Coffee County, Georgia, to coordinate picking up SCOTT
GRAHAM HALL from the airport and driving him to the Coffee County Board of Elections &
Registration Ofﬁce for the purpose of assisting with the unlawﬁll breach of election equipment at
the Coffee County Board of Elections & Registration Ofﬁce. This was an act of racketeering
activity under O.C.G.A. § 16-14-3(5)(B) and an overt act in furtherance of the conspiracy.

                                             Act 143.

       On or about the 7th day of January 2021, SCOTT GRAHAM HALL and unindicted
co-conspirator Individual 24, whose identity is known to the Grand Jury, ﬂew from DeKalb-
Peachtree Airport in DeKalb County, Georgia, to Douglas Municipal Airport in Coffee County,
Georgia, for the purpose of assisting with the unlawful breach of election equipment at the
Coffee County Board of Elections & Registration Ofﬁce. This was an act of racketeering activity
under O.C.G.A. § l6-l4-3(5)(B) and an overt act in furtherance of the conspiracy.




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                                             Act 144.

       On or about the 7th day of January 2021, SIDNEY KATHERINE POWELL,
CATHLEEN ALSTON LATHAM, SCOTT GRAHAM HALL, and MISTY HAMPTON
committed the felony offense of INTERFERENCE WITH PRIMARIES AND ELECTIONS,
in Violation of O.C.G.A. § 21-2-566, in Coffee County, Georgia, by willfully and unlawfully
tampering with electronic ballot markers and tabulating machines in Coffee County, Georgia.
This was an overt act in furtherance of the conspiracy.

                                             Act 145.

       On or about the 7th day of January 2021, SIDNEY KATHERINE POWELL,
CATHLEEN ALST ON LAT HAM, SCOTT GRAHAM HALL, and MISTY HAMPTON
committed the felony offense of UNLAWFUL POSSESSION OF BALLOTS, in Violation of
O.C.G.A. § 21-2-57 4, in Coffee County, Georgia, by causing certain members of the conspiracy,
who were not ofﬁcers charged by law with the care of ballots and who were not persons
entrusted by any such officer with the care of ballots for a purpose required by law, to possess
ofﬁcial ballots outside of the polling place in Coffee County, Georgia. This was an overt act in
furtherance of the conspiracy.

                                             Act 146.

       On or about the 7th day 0f January 2021, SIDNEY KATHERINE POWELL,
CATHLEEN ALSTON LATHAM, SCOTT GRAHAM HALL, and MISTY HAMPTON
committed the felony offense of COMPUTER THEFT, in Violation of O.C.G.A. § 169-93(a),
in Coffee County, Georgia, by using a computer with knowledge that such use was without
authority and with the intention of taking and appropriating information, data, and software, the
property of Dominion Voting Systems Corporation in Coffee County, Georgia. This was an act of
racketeering activity under O.C.G.A. § 1614-3 (5)(A)(Xix) and an overt act in furtherance of the
conspiracy.

                                             Act 147.

       On or about the 7th day of January 2021, SIDNEY KATHERINE POWELL,
CATHLEEN ALSTON LATHAM, SCOTT GRAHAM HALL, and MISTY HAMPTON
committed the felony offense of COMPUTER TRESPASS, in Violation of O.C.G.A. § 16-9-
93(b), in Coffee County, Georgia, by using a computer with knowledge that such use was
without authority and with the intention of removing voter data and Dominion Voting Systems
Corporation data from said computer in Coffee County, Georgia. This was an act of racketeering
activity under O.C.G.A. § 16-14-3 (5)(A)(xix) and an overt act in furtherance of the conspiracy.




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                                             Act 148.

      On or about the 7th day of January 2021, SIDNEY KATHERINE POWELL,
CATHLEEN ALSTON LATHAM, SCOTT GRAHAM HALL, and MISTY HAMPTON
committed the felony offense of COMPUTER INVASION OF PRIVACY, in Violation of
O.C.G.A. § 16-9-93(c), in Coffee County, Georgia, by using a computer with the intention of
examining personal voter data with knowledge that such examination was without authority. This
was an act of racketeering activity under O.C.G.A. § 16-14-3 (5)(A)(xix) and an overt act in
furtheranCe of the conspiracy.

                                             Act 149.

       On and between the 6th day 0f December 2020 and the 7th day of January 2021,
SIDNEY KATHERINE POWELL, CATHLEEN ALSTON LATHAM, SCOTT GRAHAM
HALL, and MISTY HAMPTON committed the felony oﬁense of CONSPIRACY TO
DEFRAUD THE STATE, in Violation of O.C.G.A. § 16-10-21, in Coﬁee County, Georgia, by
unlawfully conspiring and agreeing to commit theft of voter data, property which was under the
control of Georgia Secretary of State Brad Raﬁensperger, a state ofﬁcer, in his ofﬁcial capacity.
This was an act of racketeering activity under O.C.G.A. § 16-14-3 (5)(B) and an overt act in
furtherance of the conspiracy.

                                             Act 150.

        On or about the 9th day of January 2021, the 10th day of January 2021, the 11th day
0f January 2021, and the 13th day of January 2021, unindicted co-conspirator Individual 25,
whose identity is known to the Grand Jury, unlawfully accessed certain data copied from
Dominion Voting Systems equipment at the Coﬁee County Board of Elections & Registration
Ofﬁce in Coﬁee County, Georgia, by downloading said data ﬁom a server maintained by
SullivanStrickler LLC. This was an act of racketeering activity under O.C.G.A. § l6-l43(5)(B)
and an overt act in furtherance of the conspiracy.

                                            Act 151.

        On or about the 9th day of January 2021, the 10th day of January 2021, the 11th day
0f January 2021, the 18th day of January 2021, and the 19th day of January 2021,
unindicted co-conspirator Individual 26, whose identity is unknown to the Grand Jury,
unlawfully accessed certain data copied from Dominion Voting Systems equipment at the Coffee
County Board of Elections & Registration Oﬁice in Coffee County, Georgia, by downloading
said data from a server maintained by SullivanStrickler LLC. This was an act of racketeering
activity under O.C.G.A. § 16-14-3 (5)(B) and an overt act in furtherance of the conspiracy.




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                                           Act 152.

        On or about the 10th day 0f January 2021, the 12th day of January 2021, the 13th
day of January 2021, the 25th day of February 2021, and the 26th day of February 2021,
unindicted co-conspirator Individual 27, Whose identity is unknown to the Grand Jury,
unlawfully accessed certain data copied from Dominion Voting Systems equipment at the Coffee
County Board of Elections & Registration Oﬁice in Coffee County, Georgia, by downloading
said data from a server maintained by SullivanStrickler LLC. This was an act of racketeering
activity under O.C.G.A. § 16-14-3(5)(B) and an overt act in furtherance of the conspiracy.

                                           Act 153.

       On or about the 13th day 0f January 2021, unindicted co-conspirator Individual 28,
whose identity is known to the Grand Jury, unlawfully accessed certain data copied from
Dominion Voting Systems equipment at the Coffee County Board of Elections & Registration
Oﬁice in Coffee County, Georgia, by downloading said data from a server maintained by
SullivanStrickler LLC. This was an act of racketeering activity under O.C.G.A. § l614-3(5)(B)
and an overt act in furtherance of the conspiracy.

                                           Act 154.

       On or about the 18th day of January 2021, MISTY HAMPTON allowed unindicted co-
conspirators Individual 25 and Individual 29, whose identities are known to the Grand Jury, to
access non-public areas of the Coffee County Board of Elections & Registration Oﬁice in Coﬂee
County, Georgia, and facilitated their access to Dominion Voting Systems equipment This was
an overt act in furtherance of the conspiracy.

                                           Act 155.

        On or about the 22nd day of April 2021, unindicted co-conspirator Individual 28, whose
identity is known to the Grand Jury, sent an email to the Chief Operations Oﬁicer of
SullivanStrickler LLC directing him to transmit all data copied from Dominion Voting Systems
equipment at the Coffee County Board of Elections & Registration Ofﬁce in Coffee County,
Georgia, to unindicted co-conspirator Individual 30, whose identity is known to the Grand Jury,
an attorney associated with SIDNEY KATHERINE POWELL and the Trump Campaign. This
was an act of racketeering activity under O.C.G.A. § 16-14-3(5)(B) and an overt act in
furtherance of the conspiracy.




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                                            Act 156.

         On or about the 17th day of September 2021, DONALD JOHN TRUMP committed
the felony offense of SOLICITATION OF VIOLATION OF OATH BY PUBLIC OFFICER,
in Violation of O.C.G.A. §§ 16-4-7 and 16-10-1, in Fulton County, Georgia, by unlawfully
soliciting, requesting, and importuning Georgia Secretary of State Brad Raffensperger, a public
ofﬁcer, to engage in conduct constituting the felony oﬁ'ense of Violation of Oath by Public
Ofﬁcer, O.C.G.A. § 16-10-1, by unlawfully "decertifying the Election, or Whatever the correct
legal remedy is, and announce the true Winner," in willful and intentional Violation of the terms
of the oath of said person as prescribed by law, with intent that said person engage in said
conduct. This was an overt act in furtherance of the conspiracy.

                                            Act 157.

    On or about the 17th day of September 2021, DONALD JOHN TRUMP committed the
felony oﬁ'ense of FALSE STATEMENTS AND WRITINGS, in Violation of O.C.G.A. § 16-
10-20, in Fulton County, Georgia, by knowingly, willfully, and unlawfully making the following
false statement and representation to Georgia Secretary of State Brad Raffensperger:

   l. "As stated to you previously, the number of false and/or irregular votes is far greater than
       needed to change the Georgia election result";

said statement being within the jurisdiction of the Office of the Georgia Secretary of State and
the Georgia Bureau of Investigation, departments and agencies of state government, and county
and city law enforcement agencies. This was an act of racketeering activity under O.C.G.A. § l6-
l4-3 (5)(A)(xxii) and an overt act in furtherance of the conspiracy.




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                                              Act 158.

        On or about the 25th day of April 2022, DAVID JAMES SHAF ER committed the
felony offense of FALSE STATEMENTS AND WRITINGS, in Violation of O.C.G.A. § 16-
10-20, in Fulton County, Georgia, by knowingly, willfully, and unlawfully making at least one of
the following false statements and representations in the presence of Fulton County District
Attorney's Ofﬁce investigators:

    1.   That he "attended and convened" the December 14, 2020, meeting of Trump presidential
         elector nominees in Fulton County, Georgia, but that he did not "call each of the
         individual members and notify them of the meeting or make any of the other preparations
         necessary for the meeting";

   2. That a court reporter was not present at the December 14, 2020, meeting of Trump
      presidential elector nominees in Fulton County, Georgia;

said statements being within the jurisdiction of the Fulton County District Attomey's Ofﬁce, a
department and agency of the government of a county of this state. This was an act of
racketeering activity under O.C.G.A. § 16-14-3(5)(A)(xxii) and an overt act in furtherance of the
conspiracy.

                                              Act 159.

        On or about the 7th day of May 2022, SIDNEY KATHERINE POWELL made at least
one of the following false statements and representations in a sworn deposition with the United
States House of Representatives Select Committee to Investigate the January 6th Attack on the
United States Capitol:

    1.   That she "didn't have any role in really setting up" efforts to access voting machines in
         Coffee County, Georgia, or Antrim County, Michigan;

   2.    That she was aware there was an "effort by some people" to get access to voting    '



         machines in Georgia but that she did not "know what happened with that" and did not
         "remember whether that was Rudy or other folks."

This was an overt act in furtherance of the conspiracy.




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                                             Act 160.

         On or about the 1st day of September 2022, CATHLEEN ALSTON LATHAM
committed the felony offense of PERJURY, in Violation of O.C.G.A. § 16-1070(a), in Houston
County, Georgia, by knowingly, willfully, and unlawfully making at least one of the following
false statements in a deposition in the matter of Curling V. Raffensperger, Case 1:17-cv-02989
AT in the United States District Court for the Northern District of Georgia, a judicial proceeding,
after having been administered a lawful oath:

    l. That she was only present at the Coffee County Board of Elections & Registration Office
       in Coffee County, Georgia, for "just a few minutes" on January 7, 2021;

   2   That she only "walked into the front part" of the Coffee County Board of Elections &
       Registration Oﬁice on January 7, 2021, and "didn't go into the office";

   3   That she had "no idea" if employees of SullivanStrickler met Eric Chaney at the Coffee
       County Board of Elections & Registration Oﬁice on January 7, 2021 ;

   4   That she did not see Misty Hampton at the Coffee County Board of Elections &
       Registration Oﬁice on January 7, 2021;

   5   That her only interaction with Scott Hall at the Coffee County Board of Elections &
       Registration Ofﬁce on January 7, 2021, was meeting him, speaking to him outside of the
       office, and then leaving the office;

   6   That she did not see Scott Hall speak to anyone other than herself at the Coffee County
       Board of Elections & Registration Ofﬁce on January 7, 2021 ;

said statements being material to the accused's own involvement in the January 7, 2021,
unlawful breach of election equipment at the Coffee County Board of Elections & Registration
Oﬂice and to the accused's communications with others involved, the issues in question. This
was an act of racketeering activity under O.C.G.A. § l6-l4-3(5)(A)(xxv) and an overt act in
furtherance of the conspiracy.




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                                               Act161-

        On or about the 15th day of September 2022, ROBERT DAVID CHEELEY
committed the felony offense of PERJURY, in Violation of O.C.G.A. § 16-10-70(a), in Fulton
County, Georgia, by knowingly, willfully, and unlawfully making at least one of the following
false statements before the Fulton County Special Purpose Grand Jury, a judicial proceeding,
after having been administered a lawful oath:

    1.   That he was unaware of the December 14, 2020, meeting of Trump presidential elector
         nominees in Fulton County, Georgia, until after the meeting had already taken place;

   2.    That he had no substantive conversations with anyone concerning the December 14,
         2020, meeting of Trump presidential elector nominees in Fulton County, Georgia, until
         after the meeting had already taken place;

   3.    That he never suggested to anyone that the Trump presidential elector nominees in
         Georgia should meet on December 14, 2020;

   4. That the only communication he had with John Eastman concerning the November 3,
      2020, presidential election was for the purpose of connecting Eastman to Georgia Senator
      Brandon Beach and unindicted coconspirator Individual 8, whose identity is known to
         the Grand Jury, for possible legal representation;

   5.    That he never wo'rked to connect John Eastman with any Georgia legislators other than
         Georgia Senator Brandon Beach and unindicted co-conspirator Individual 8, whose
         identity is known to the Grand Jury;

said statements being material to the accused's own involvement in the December 14, 2020,
meeting of Trump presidential elector nominees in Fulton County, Georgia, and to the accused's
communications with others involved in the meeting, the issues in question. This was an act of
racketeering activity under O.C.G.A. § 1614-3 (5)(A)(xxv) and an overt act in furtherance of the
conspiracy.




       The acts set forth above were committed in furtherance of the conspiracy alleged above
and had the same and similar intents, results, accomplices, victims, and methods of commission
and otherwise were interrelated by distinguishing characteristics and were not isolated acts.




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                                          COUNT 2 of 41

         And the Grand Jurors aforesaid, in the name and behalf of the citizens of Georgia, do
charge and accuse RUDOLPH WILLIAM LOUIS GIULIANI, JOHN CHARLES
EASTMAN, JENNA LYNN ELLIS, and RAY STALLINGS SMITH III with the offense of
SOLICITATION OF VIOLATION OF OATH BY PUBLIC OFFICER, O.C.G.A. §§ 16-4-7
& 16-10-1, for the said accused, individually and as persons concerned in the commission of a
crime, and together with unindicted co-conspirators, in the County of Fulton and State of
Georgia, on the 3rd day 0f December 2020, unlawfully solicited, requested, and importuned
certain public oﬂicers then serving as elected members of the Georgia Senate andpresent at a
Senate Judiciary Subcommittee meeting, including unindicted co-conspirator Individual 8,
whose identity is known to the Grand Jury, Senators Lee Anderson, Brandon Beach, Matt Brass,
Greg Dolezal, Steve Gooch, Tyler Harper, Bill Heath, Jen Jordan, John F. Kennedy, William
Ligon, Elena Parent, Michael Rhett, Carden Summers, and Blake Tillery, to engage in conduct
constituting the felony oﬂ'ense of Violation of Oath by Public Oﬂicer, O.C.G.A. § 16-10-1, by
unlawfully appointing presidential electors from the State of Georgia, in willful and intentional
violation of the terms of the oath of said persons as prescribed by law, with intent that said
persons engage in said conduct, said date being a material element of the oﬂ'ense, contrary to the
laws of said State, the good order, peace and dignity thereof;


                                          COUNT 3 of 41

        And the Grand Jurors aforesaid, in the name and behalf of the citizens of Georgia, do
charge  and accuse RUDOLPH WILLIAM LOUIS GIULIANI with the offense of FALSE
STATEMENTS AND WRITINGS, O.C.G.A. § 16-10-20, for the said accused, in the County
of Fulton and State of Georgia, on or about the 3rd day of December 2020, knowingly, willfully,
and unlawfully made at least one of the following false statements and representations to
members of the Georgia Senate present at a Senate Judiciary Subcommittee meeting:

    1.   That at least 96,600 mail-in ballots were counted in the November 3, 2020, presidential
         election in Georgia, despite there being no record of those ballots having been returned to
         a county elections ofﬁce;

    2.   That a Dominion Voting Systems machine used in the November 3, 2020, presidential
         election in Antrim County, Michigan, mistakenly recorded 6,000 votes for Joseph R.
         Biden when the votes were actually cast for Donald Trump;

said statements being within the jurisdiction of the Oﬂice of the Georgia Secretary of State and
the Georgia Bureau of Investigation, departments and agencies of state government, and county
and city law enforcement agencies, contrary to the laws of said State, the good order, peace and
dignity thereof;




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                                         COUNT 4 0f 41

        And the Grand Jurors aforesaid, in the name and behalf of the citizens of Georgia, do
charge and accuse RAY STALLINGS SMITH III with the offense of FALSE STATEMENTS
AND WRITINGS, O.C.G.A. § 16-10-20, for the said accused, in the County of Fulton and
State of Georgia, on or about the 3rd day of December 2020, knowingly, willfully, and
unlawfully made at least one of the following false statements and representations to members of
the Georgia Senate present at a Senate Judiciary Subcommittee meeting:

    l. That 2,506 felons voted illegally in the November 3, 2020, presidential election in
                                                                     '


        Georgia;

    2   That 66,248 underage people illegally registered to vote before their seventeenth birthday
        prior to the November 3, 2020, presidential election in Georgia;

    3   That at least 2,423 people voted in the November 3, 2020, presidential election in
        Georgia wh'o were not listed as registered to vote;

   4    That 1,043 people voted in the November 3, 2020, presidential election in Georgia who
        had illegally registered to vote using a post ofﬁce box;

    5   That 10,315 or more dead people voted in the November 3, 2020, presidential election in
        Georgia;

   6    That Fulton County election workers at State Farm Arena ordered poll watchers and
        members of the media to leave the tabulation area on the night of November 3, 2020, and
        continued to operate after ordering everyone to leave;

said statements being within the jurisdiction of the Office of the Georgia Secretary of State and
the Georgia Bureau of Investigation, departments and agencies of state government, and county
and city law enforcement agencies, contrary to the laws of said State, the good order, peace and
dignity thereof;




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                                          COUNT 5 of 41

        And the Grand Jurors aforesaid, in the name and behalf of the citizens of Georgia, do
charge  and accuse DONALD JOHN TRUMP with the offense of SOLICITATION OF
VIOLATION OF OATH BY PUBLIC OFFICER, O.C.G.A. §§ 16-4-7 & 16-10-1, for the
said accused, in the County of Fulton and State of Georgia, on or about the 7th day 0f
December 2020, unlawfully solicited, requested, and importuned Speaker of the Georgia House
of Representatives David Ralston, a public ofﬁcer, to engage in conduct constituting the felony
offense of Violation of Oath by Public Oﬁicer, O.C.G.A. § 16-10-1, by calling for a special
session of the Georgia General Assembly for the purpose of unlawfully appointing presidential
electors from the State of Georgia, in willful and intentional Violation of the terms of the oath of
said person as prescribed by law, with intent that said person engage in said conduct, contrary to
the laws of said State, the good order, peace and dignity thereof;



                                          COUNT 6 of 41

       And the Grand Jurors aforesaid, in the name and behalf of the citizens of Georgia, do
charge and  accuse RUDOLPH WILLIAM LOUIS GIULIANI and RAY STALLINGS
SMITH III with the offense of SOLICITATION OF VIOLATION OF OATH BY PUBLIC
OFFICER, O.C.G.A. §§ 16-4-7 & 16-10-1, for the said accused, individually and as persons
concerned in the commission of a crime, and together with unindicted co-conspirators, in the
County of Fulton and State of Georgia, on the 10th day 0f December 2020, unlawfully solicited,
requested, and importuned certain public oﬁicers then serving as elected members of the Georgia
House of Representatives and present at a House Governmental Affairs Committee meeting,
including Representatives Shaw Blackmon, Jon Burns, Barry Fleming, Todd Jones, Bee Nguyen,
Mary Margaret Oliver, Alan Powell, Renitta Shannon, Robert Trammell, Scot Turner, and Bruce
Williamson, to engage in conduct constituting the felony offense of Violation of Oath by Public
Oﬁicer, O.C.G.A. § 16101, by unlawfully appointing presidential electors from the State of
Georgia, in willful and intentional violation of the terms of the oath of said persons as prescribed
by law, with intent that said persons engage in said conduct, said date being a material element of
the offense, contrary to the laws of said State, the good order, peace and dignity thereof;




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                                          COUNT 7 of 41

       And the Grand Jurors aforesaid, in the name and behalf of the citizens of Georgia, do
charge and accuse RUDOLPH WILLIAM LOUIS GIULIANI with the offense of FALSE
STATEMENTS AND WRITINGS, O.C.G.A. § 16-10-20, for the said accused, in the County
of Fulton and State of Georgia, on or about the 10th day of December 2020, knowingly,
willfully, and unlawfully made at least one of the following false statements and representations
to members of the Georgia House of Representatives present at a House Governmental Affairs
Committee meeting:

    l. That it is quite clear from the State Farm Arena Video from November 3, 2020, that
        Fulton County election workers were stealing votes and that Georgia ofﬁcials were
        covering up a crime in plain sight;

    2   That at State Farm Arena on November 3, 2020, Democratic ofﬁcials "got rid of all of the
        reporters, all the observers, anyone that couldn't be trusted," used the excuse of a
        watermain break, cleared out the voting area and then "went about their dirty, crooked
        business";

    3   That between 12,000 and 24,000 ballots were illegally counted by Fulton County election
        workers at State Farm Arena on November 3, 2020;

    4   That in Michigan, there were 700,000 more ballots counted than were sent out to voters
        in the November 3, 2020, presidential election, which was accounted for by quadruple
        counting ballots;

    5   That Ruby Freeman, Shaye Moss, and an unidentified man were "quite obviously
        surreptitiously passing around USB ports as if they're vials of heroin or cocaine" at State
        Farm Arena to be used to "inﬁltrate the crooked Dominion voting machines";

   6    That 96,600 mailin ballots were counted in the November 3, 2020, presidential election
        in Georgia, despite there being no record of those ballots having been returned to a
        county elections office;

said statements being within the jurisdiction of the Office of the Georgia Secretary of State and
the Georgia Bureau of Investigation, departments and agencies of state government, and county
and city law enforcement agencies, contrary to the laws of said State, the good order, peace and
dignity thereof;




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                                         COUNT 8 of 41

       And the Grand Jurors aforesaid, in the name and behalf of the citizens of Georgia, do
charge and accuse DAVID JAMES SHAFER, SHAWN MICAH TRESHER STILL, and
CATHLEEN ALSTON LATHAM with the offense of IMPERSONATING A PUBLIC
OFFICER, O.C.G.A. § 16-10-23, for the said accused, individually and as persons concerned in
the commission of a crime, and together with unindicted co-conspirators, in the County of Fulton
and State of Georgia, on or about the 14th day of December 2020, unlawfully falsely held
themselves out as the duly elected and qualiﬁed presidential electors from the State of Georgia,
public ofﬁcers, with intent to mislead the President of the United States Senate, the Archivist of
the United States, the Georgia Secretary of State, and the Chief Judge of the United States
District Court for the Northern District of Georgia into believing that they actually were such
ofﬁcers by placing in the United States mail to said persons a document titled "CERTIFICATE
OF THE VOTES OF THE 2020 ELECTORS FROM GEORGIA," contrary to the laws of said
State, the good order, peace and dignity thereof;


                                         COUNT 9 of 41

       And the Grand Jurors aforesaid, in the name and behalf of the citizens of Georgia, do
charge and accuse DONALD JOHN TRUMP, RUDOLPH WILLIAM LOUIS GIULIANI,
JOHN CHARLES EASTMAN, KENNETH JOHN CHESEBRO, RAY STALLINGS
SMITH III, ROBERT DAVID CHEELEY, and MICHAEL A. ROMAN with the offense of
CONSPIRACY TO COMMIT IMPERSONATING A PUBLIC OFFICER, O.C.G.A. §§
16-4-8 & 16-10-23, for the said accused, individually and as persons concerned in the
commission of a crime, and together with indicted and unindicted co-conspirators, in the County
of Fulton and State of Georgia, on and between the 6th day of December 2020 and the 14th
day of December 2020, unlawfully conspired to cause certain individuals to falsely hold
themselves out as the duly elected and qualiﬁed presidential electors from the State of Georgia,
public ofﬁcers, with intent to mislead the President of the United States Senate, the Archivist of
the United States, the Georgia Secretary of State, and the Chief Judge of the United States
District Court for the Northern District of Georgia into believing that they actually were such
ofﬁcers;

       And the Defendants named in Count 8, acting as co-conspirators, as described above and
incorporated by reference as if fully set forth herein, falsely held themselves out as said public
ofﬁcers by placing in the United States mail to said persons a document titled "CERTIFICATE
OF THE VOTES OF THE 2020 ELECTORS FROM GEORGIA" in Fulton County, Georgia,
which was an overt act to effect the object of the conspiracy, contrary to the laws of said State,
the good order, peace and dignity thereof;




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                                        COUNT 10 of 41

       And the Grand Jurors aforesaid, in the name and behalf of the citizens of Georgia, do
charge and accuse DAVID JAMES SHAFER, SHAWN MICAH TRESHER STILL, and
CATHLEEN ALSTON LATHAM with the offense of. FORGERY IN THE FIRST
DEGREE, O.C.G.A. § 16-9-1(b), for the said accused, individually and as persons concerned in
the commission of a crime, and together with unindicted co-conspirators, in the County of Fulton
and State of Georgia, on or about the 14th day of December 2020, unlawfully and with the
intent to defraud, knowingly made a document titled "CERTIFICATE OF THE VOTES OF THE
2020 ELECTORS FROM GEORGIA," a writing other than a check, in such manner that the
writing as made purports to have been made by authority of the duly elected and qualiﬁed
presidential electors from the State of Georgia, who did not give such authority, and uttered and
delivered said document to the Archivist of the United States, contrary to the laws of said State,
the good order, peace and dignity thereof;



                                        COUNT 11 0f 41

       And the Grand Jurors aforesaid, in the name and behalf of the citizens of Georgia, do
charge and accuse DONALD JOHN TRUMP, RUDOLPH WILLIAM LOUIS GIULIANI,
JOHN CHARLES EASTMAN, KENNETH JOHN CHESEBRO, RAY STALLINGS
SMITH III, ROBERT DAVID CHEELEY, and MICHAEL A. ROMAN with the offense of
CONSPIRACY TO COMMIT FORGERY IN THE FIRST DEGREE, O.C.G.A. §§ 16-4-8
& 16-91(b), for the said accused, individually and as persons concerned in the commission of a
crime, and together with indicted and unindicted co-conspirators, in the County of Fulton and
State of Georgia, on and between the 6th day of December 2020 and the 14th day of
December 2020, unlawfully conspired, with the intent to defraud, to knowingly make a
document titled "CERTIFICATE OF THE VOTES OF THE 2020 ELECTORS FROM
GEORGIA," a writing other than a check, in such manner that the writing as made purports to
have been made by authority of the duly elected and qualiﬁed presidential electors from the State
of Georgia, who did not give such authority, and to utter and deliver said document to the
Archivist of the United States;

       And the Defendants named in Count 10, acting as co-conspirators, as described above
and incorporated by reference as if ﬁilly set forth herein, made said document in Fulton County,
Georgia, and uttered and delivered said document to the Archivist of the United States in Fulton
County, Georgia, which were overt acts to effect the object of the conspiracy, contrary to the
laws of said State, the good order, peace and dignity thereof;




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                                        COUNT 12 0f 41

         And the Grand Jurors aforesaid, in the name and behalf of the citizens of Georgia, do
charge  and accuse DAVID JAMES SHAFER, SHAWN MICAH TRESHER STILL, and
CATHLEEN ALSTON LATHAM with the offense of FALSE STATEMENTS AND
WRITINGS, O.C.G.A. § 16-10-20, for the said accused, individually and as persons concerned
in the commission of a crime, and together With unindicted co-conspirators, in the County of
Fulton and State of Georgia, on or about the 14th day of December 2020, knowingly, willfully,
and unlawfully made and used a false document titled "CERTIFICATE OF THE VOTES OF
THE 2020 ELECTORS FROM GEORGIA," with knowledge that said document contained the
false statement, "WE, THE UNDERSIGNED, being the duly elected and qualiﬁed Electors for
President and Vice President of the United States of America from the State of Georgia, do
hereby certify the following," said document being within the jurisdiction of the Ofﬁce of the
Georgia Secretary of State and the Ofﬁce of the Governor of Georgia, departments and agencies
of state government, contrary to the laws of said State, the good order, peace and dignity thereof;


                                        COUNT 13 0f 41

       And the Grand Jurors aforesaid, in the name and behalf of the citizens of Georgia, do
charge and accuse DONALD JOHN TRUMP, RUDOLPH WILLIAM LOUIS GIULIANI,
JOHN CHARLES EASTMAN, KENNETH JOHN CHESEBRO, RAY STALLIN GS
SMITH III, ROBERT DAVID CHEELEY, and MICHAEL A. ROMAN with the offense of
CONSPIRACY TO COMMIT FALSE STATEMENTS AND WRITINGS, O.C.G.A. §§ 16
4-8 & 16-10-20, for the said accused, individually and as persons concerned in the commission
of a crime, and together with indicted and unindicted co-conspirators, in the County of Fulton
and State of Georgia, on and between the 6th day of December 2020 and the 14th day of
December 2020, unlawfully conspired to knowingly and willfully make and use a false
document titled "CERTIFICATE OF THE VOTES OF THE 2020 ELECTORS FROM
GEORGIA," with knowledge that said document contained the false statement, "WE, THE
UNDERSIGNED, being the duly elected and qualiﬁed Electors for President and Vice President
of the United States of America from the State of Georgia, do hereby certify the following," said
document being within the jurisdiction of the Ofﬁce of the Georgia Secretary of State and the
Ofﬁce of the Governor of Georgia, departments and agencies of state government;

       And the Defendants named in Count 12, acting as co-conspirators, as described above
and incorporated by reference as if fully set forth herein, made and used said document in Fulton
County, Georgia, which were overt acts to effect the object of the conspiracy, contrary to the
laws of said State, the good order, peace and dignity thereof;




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                                        COUNT 14 of 41

       And the Grand Jurors aforesaid, in the name and behalf of the citizens of Georgia, do
charge and accuse DAVID JAMES SHAFER, SHAWN MICAH TRESHER STILL, and
CATHLEEN ALSTON LATHAM with the offense of CRIMINAL ATTEMPT TO
COMMIT FILING FALSE DOCUMENTS, O.C.G.A. §§ 164-1 & 16-10-20.1(b)(1), for the
said accused; individually and as persons concerned in the commission of a crime, and together
with unindicted co-conspirators, in the County of Fulton and State of Georgia, on or about the
14th day of December 2020, unlawfully, with intent to commit the crime of Filing False
Documents, O.C.G.A. § 16-10-20.l(b)(1), placed in the United States mail a document titled
"CERTIFICATE OF THE VOTES OF THE 2020 ELECTORS FROM GEORGIA," addressed
to Chief Judge, U.S. District Court, Northern District of Georgia, 2188 Richard D. Russell
Federal Ofﬁce Building and U.S. Courthouse, 75 Ted Turner Drive, SW, Atlanta, GA 30303, a
substantial step toward the commission of Filing False Documents, O.C.G.A. § 1610-20.1(b)(1),
with intent to knowingly ﬁle, enter, and record said document in a court of the United States,
having reason to know that said document contained the materially false statement, "WE, THE
UNDERSIGNED, being the duly elected and qualiﬁed Electors for President and Vice President
of the United States of America from the State of Georgia, do hereby certify the following,"
contrary to the laws of said State, the good order, peace and dignity thereof;


                                        COUNT 15 of 41

       And the Grand Jurors aforesaid, in the name and behalf of the citizens of Georgia, do
charge and accuse DONALD JOHN TRUMP, RUDOLPH WILLIAM LOUIS GIULIANI,
JOHN CHARLES EASTMAN, KENNETH JOHN CHESEBRO, RAY STALLINGS
SMITH III, ROBERT DAVID CHEELEY, and MICHAEL A. ROMAN with the offense of
CONSPIRACY T0 COMMIT FILING FALSE DOCUMENTS, O.C.G.A. §§ 16-48 & 16-
10-20.1(b)(1), for the said accused, individually and as persons concerned in the commission of
a crime, and together with indicted and unindicted co-conspirators, in the County of Fulton and
State of Georgia, on and between the 6th day of December 2020 and the 14th day of
December 2020, unlawfully conspired to knowingly ﬁle, enter, and record a document titled
"CERTIFICATE OF THE VOTES OF THE 2020 ELECTORS FROM GEORGIA," in a court of
the United States, having reason to know that said document contained the materially false
statement, "WE, THE UNDERSIGNED, being the duly elected and qualiﬁed Electors for
President and Vice President of the United States of America from the State of Georgia, do
hereby certify the following";

       And the Defendants named in Count 14, acting as co-conspirators, as described above
and incorporated by reference as if fully set forth herein, placed in the United States mail said
document, addressed to Chief Judge, U.S. District Court, Northern District of Georgia, 2188
Richard D. Russell Federal Ofﬁce Building and U.S. Courthouse, 75 Ted Turner Drive, SW,
Atlanta, GA 30303, in Fulton County, Georgia, which was an overt act to effect the object of the
conspiracy, contrary to the laws of said State, the good order, peace and dignity thereof;




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                                           COUNT l6 of 41

        And the Grand Jurors aforesaid, in the name and behalf of the citizens of Georgia, do
charge  and accuse DAVID JAMES SHAFER and SHAWN MICAH TRESHER STILL with
the offense of FORGERY IN THE FIRST DEGREE, O.C.G.A. § 16-9-1(b), for the said
accused, individually and as persons concerned in the commission of a crime, and together with
unindicted co-conspirators, in the County of Fulton and State of Georgia, on or about the 14th
day of December 2020, unlawfully and with the intent to defraud, knowingly made a document
titled "RE: Notice of Filling of Electoral College Vacancy," a writing other than a check, in such
manner that the writing as made purports to have been made by the authority of the duly elected
and qualified presidential electors from the State of Georgia, who did not give such authority,
and uttered and delivered said document to the Archivist of the United States and the Ofﬁce of
the Governor of Georgia, contrary to the laws of said State, the good order, peace and dignity
thereof;


                                           COUNT 17 of 41

           And the Grand Jurors aforesaid, in the name and behalf of the citizens of Georgia, do
charge and accuse DONALD JOHN TRUMP, RUDOLPH WILLIAM LOUIS GIULIANI,
JOHN CHARLES EASTMAN, KENNETH JOHN CHESEBRO, RAY STALLINGS
SMITH III, ROBERT DAVID CHEELEY, and MICHAEL A. ROMAN with the offense of
CONSPIRACY TO COMMIT FORGERY IN THE FIRST DEGREE, O.C.G.A. §§ 16-4-8
& 16-9-1(b), for the said accused, individually and as persons concerned in the commission of a
crime, and together with indicted and unindicted co-conspirators, in the County of Fulton and
State of Georgia, on and between the 6th day of December 2020 and the 14th day of
December 2020, unlawfully conspired, with the intent to defraud, to knowingly make a
document titled "RE: Notice of Filling of Electoral College Vacancy," a writing other than a
check, in such manner that the writing as made purports to have been made by the authority of
the duly elected and qualiﬁed presidential electors from the State of Georgia, who did not give
such authority, and to utter and deliver said document to the Archivist of the United States and
the Ofﬁce of the Governor "of Georgia;

        And the Defendants named in Count l6, acting as coconspirators, as described above
and incorporated by reference as if fully set forth herein, made said document in Fulton County,
Georgia, and uttered and delivered said document to the Archivist of the United States and the
Ofﬁce of the Governor of Georgia in Fulton County, Georgia, which were overt acts to effect the
object of the conspiracy, contrary to the laws of said State, the good order, peace and dignity
thereof;




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                                        COUNT 18 of 41

       And the Grand Jurors aforesaid, in the name and behalf of the citizens of Georgia, do
charge and accuse DAVID JAMES SHAFER and SHAWN MICAH TRESHER STILL with
the offense of FALSE STATEMENTS AND WRITINGS, O.C.G.A. § 16-1020, for the said
accused, individually and as persons concerned in the commission of a crime, and together with
unindicted co-conspirators, in the County of Fulton and State of Georgia, on or about the 14th
day of December 2020, knowingly, willfully, and unlawﬁllly made and used a false document
titled "RE: Notice of Filling of Electoral College Vacancy," with knowledge that said document
contained the false statements that DAVID JAMES SHAFER was Chairman of the 2020
Georgia Electoral College Meeting and SHAWN MICAH TRESHER STILL was Secretary of
the 2020 Georgia Electoral College Meeting, said document being within the jurisdiction of the
Office of the Georgia Secretary of State and the Ofﬁce of the Governor of Georgia, departments
and agencies of state government, contrary to the laws of said State, the good order, peace and
dignity thereof;


                                        COUNT 19 0f 41

       And the Grand Jurors aforesaid, in the name and behalf of the citizens of Georgia, do
charge and accuse DONALD JOHN TRUMP, RUDOLPH WILLIAM LOUIS GIULIANI,
JOHN CHARLES EASTMAN, KENNETH JOHN CHESEBRO, RAY STALLIN GS
SMITH III, ROBERT DAVID CHEELEY and MICHAEL A. ROMAN with the offense of
CONSPIRACY TO COMMIT FALSE STATEMENTS AND WRITINGS, O.C.G.A. §§ 16-
 4-8 & 16-10-20, for the said accused, individually and as persons concerned in the commission
 of a crime, and together with indicted and unindicted co-conspirators, in the County of Fulton
 and State of Georgia, on and between the 6th day 0f December 2020 and the 14th day of
December 2020, unlawfully conspired to knowingly and willfully make and use a false
 document titled "RE: Notice of Filling of Electoral College Vacancy," with knowledge that said
 document contained the false statements that DAVID JAMES SHAF ER was Chairman of the
 2020 Georgia Electoral College Meeting and SHAWN MICAH TRESHER STILL was
 Secretary of the 2020 Georgia Electoral College Meeting, said document being within the
jurisdiction of the Ofﬁce of the Georgia Secretary of State and the Ofﬁce of the Governor of
Georgia, departments and agencies of state government;

       And the Defendants named in Count l8, acting as co-conspirators, as described above
and incorporated by reference as if fully set forth herein, made and used said document in Fulton   '




County, Georgia, which were overt acts to eﬁect the object of the conspiracy, contrary to the
laws of said State, the good order, peace and dignity thereof;




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                                       COUNT 20 0f 41

       And the Grand Jurors aforesaid, in the name and behalf of the citizens of Georgia, do
charge and accuse STEPHEN CLIFFGARD LEE with the offense of CRIMINAL
ATTEMPT TO COMMIT INFLUENCING WITNESSES, O.C.G.A. §§ 16-4-1 & 16-10-
93(b)(1)(A), for the said accused, in the County of Fulton and State of Georgia, on the 14th day
0f December 2020, unlawfully, with intent to commit the crime of Inﬂuencing'Witnesses,
O.C.G.A. § l6-lO-93(b)(l)(A), traveled to the home of Ruby Freeman, a Fulton County,
Georgia, election worker, and spoke to her neighbor, a substantial step toward the commission of
Inﬂuencing Witnesses, O.C.G.A. § 16-10-93 (b)(l)(A), with intent to knowingly engage in
misleading conduct toward Ruby Freeman, by purporting to offer her help, and with intent to
inﬂuence her testimony in an ofﬁcial proceeding in Fulton Counw, Georgia, concerning events
at State Farm Arena in the November 3, 2020, presidential election in Georgia, said date being a
material element of the offense, contrary to the laws of said State, the good order, peace and
dignity thereof;


                                       COUNT 21 0f 41

       And the Grand Jurors aforesaid, in the name and behalf of the citizens of Georgia, do
charge and accuse STEPHEN CLIFFGARD LEE with the offense of CRIMINAL
ATTEMPT TO COMMIT INFLUENCING WITNESSES, O.C.G.A. §§ 16-4-1 & 1610-
93(b)(1)(A), for the said accused, in the County of Fulton and State of Georgia, on the 15th day
of December 2020, unlawfully, with intent to commit the crime of Inﬂuencing Witnesses,
O.C.G.A. § l6-lO-93(b)(l)(A), traveled to the home of Ruby Freeman, a Fulton County,
Georgia, election worker, and knocked on her door, a substantial step toward the commission of
Inﬂuencing Witnesses, O.C.G.A. § 16-10-93 (b)(l)(A), with intent to knowingly engage in
misleading conduct toward Ruby Freeman, by purporting to offer her help, and with intent to
inﬂuence her testimony in an ofﬁcial proceeding in Fulton County, Georgia, concerning events
at State Farm Arena in the November 3, 2020, presidential election in Georgia, said date being a
material element of the offense, contrary to the laws of said State, the good order, peace and
dignity thereof;




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                                       COUNT 22 0f 41

       And the Grand Jurors aforesaid, in the name and behalf of the citizens of Georgia, do
Charge and accuse JEFFREY BOSSERT CLARK with the offense of CRIMINAL ATTEMPT
TO COMMIT FALSE STATEMENTS AND WRITINGS, O.C.G.A. §§ 16-4-1 & 16-10-20,
for the said accused, individually and as a person concerned in the commission of a crime, and
together with unindicted co-conspirators, in the County of Fulton and State of Georgia, on and
between the 28th day of December 2020 and the 2nd day of January 2021, unlawfully, With
intent to commit the crime of False Statements and Writings, O.C.G.A. § 16-1020, knowingly
and willfully made a false writing and document knowing the same to contain the false statement
that the United States Department of Justice had "identiﬁed signiﬁcant concerns that may have
impacted the outcome of the election in multiple State's, including the State of Georgia," said
statement being within the jurisdiction of the Ofﬁce of the Georgia Secretary of State and the
Georgia Bureau of Investigation, departments and agencies of state government, and county and
city law enforcement agencies;

       And, on or about the 28th day of December 2020, the said accused sent an e-mail t0
Acting United States Attorney General Jeffrey Rosen and Acting United States Deputy Attorney
General Richard Donoghue and requested authorization to send said false writing and document
to Georgia Governor Brian Kemp, Speaker of the Georgia House of Representatives David
Ralston, and President Pro Tempore of the Georgia Senate Butch Miller;

        And, on or about the 2nd day of January 2021, the said accused met with Acting United
States Attorney General Jeffrey Rosen and Acting United States Deputy Attorney General
Richard Donoghue and requested authorization to send said false writing and document to
Georgia Governor Brian Kemp, Speaker of the Georgia House of Representatives David Ralston,
and President Pro Tempore of the Georgia Senate Butch Miller;

        And said acts constituted substantial steps toward the commission of False Statements
and Writings, O.C.G.A. § 16-10-20, and said conduct committed outside the state of Georgia
constituted an attempt to commit a crime within the state of Georgia, pursuant to O.C.G.A. § l7-
2-1(b)(2), contrary to the laws of said State, the good order, peace and dignity thereof;




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                                        COUNT 23 of 41

        And the Grand Jurors aforesaid, in the name and behalf of the citizens of Georgia, do
charge  and accuse RUDOLPH WILLIAM LOUIS GIULIANI, RAY STALLINGS SMITH
III, and ROBERT DAVID CHEELEY with the offense of SOLICITATION OF VIOLATION
OF OATH BY PUBLIC OFFICER, O.C.G.A. §§ 16-4-7 & 16101, for the said accused,
individually and as persons concerned in the commission of a crime, and together with
unindicted co-conspirators, in the County of Fulton and State of Georgia, on the 30th day 0f
December 2020, unlawfully solicited, requested, and importuned certain public ofﬁcers then
serving as elected members of the Georgia Senate and present at a Senate Judiciary
Subcommittee meeting, including unindicted co-conspirator Individual 8, whose identity is
known to the Grand Jury, Senators Brandon Beach, Bill Heath, William Ligon, Michael Rhett,
and Blake Tillery, to engage in conduct constituting the felony offense of Violation of Oath by
Public Officer, O.C.G.A. § 16-10-1, by unlawfully appointing presidential electors from the State
of Georgia, in willful and intentional violation of the terms of the oath of said persons as
prescribed by law, with intent that said persons engage in said conduct, said date being a material
element of the offense, contrary to the laws of said State, the good order, peace and dignity
thereof;


                                        COUNT 24 0f 41

        And the Grand Jurors aforesaid, in the name and behalf of the citizens of Georgia, do
charge  and  accuse RUDOLPH WILLIAM LOUIS GIULIANI with the oﬁense of FALSE
STATEMENTS AND WRITINGS, O.C.G.A. § 16-10-20, for the said accused, in the County
of Fulton and State of Georgia, on or about the 30th day of December 2020, knowingly,
willfully, and unlawfully made at least one of the following false statements and representations
to members of the Georgia Senate present at a Senate Judiciary Subcommittee meeting:

    l. That Fulton County election workers fraudulently counted certain ballots as many as five
        times at State Farm Arena on November 3, 2020;

   2.   That 2,560 felons voted illegally in the November 3, 2020, presidential election in
        Georgia;

   3.   That 10,315 dead people voted in the November 3, 2020, presidential election in Georgia;

said statements being within the jurisdiction of the Office of the Georgia Secretary of State and
the Georgia Bureau of Investigation, departments and agencies of state government, and county
and city law enforcement agencies, contrary to the laws of said State, the good order, peace and
dignity thereof;




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                                         COUNT 25 0f 41

       And the Grand Jurors aforesaid, in the name and behalf of the citizens of Georgia, do
charge and accuse RAY STALLINGS SMITH III with the offense of FALSE STATEMENTS
AND WRITINGS, O.C.G.A. § 16-10-20, for the said accused, in the County of Fulton and
State of Georgia, on or about the 30th day of December 2020, knowingly, willfully, and
unlawfully made at least one of the following false statements and representations to members of
the Georgia Senate present at a Senate Judiciary Subcommittee meeting:

    l. That Georgia Secretary of State General Counsel Ryan Germany stated that his office had
         sent letters to 8,000 people who voted illegally in the November 3, 2020, presidential
         election and told them not to vote in the January 5, 2021, runoff election;

    2.   That the Georgia Secretary of State admitted "that they had a 90% accuracy rate" in the
         November 3, 2020, presidential election and that "there's still a 10% margin that's not
         accurate";

said statements being within the jurisdiction of the Office of the Georgia Secretary of State and
the Georgia Bureau of Investigation, departments and agencies of state government, and county
and city law enforcement agencies, contrary to the laws of said State, the good order, peace and
dignity thereof;


                                         COUNT 26 of 41

       And the Grand Jurors aforesaid, in the name and behalf of the citizens of Georgia, do
charge and accuse ROBERT DAVID CHEELEY with the offense of FALSE STATEMENTS
AND WRITINGS, O.C.G.A. § 16-10-20, for the said accused, in the County of Fulton and
State of Georgia, on or about the 30th day of December 2020, knowingly, willfully, and
unlawfully made at least one of the following false statements and representations to members of
the Georgia Senate present at a Senate Judiciary Subcommittee meeting:

    l. That poll watchers and media at State Farm Arena were told late in the evening of
         November 3, 2020, that the vote count was being suspended until the next morning and to
         go home because of "a major watermain break";

    2.   That Fulton County election workers at State Farm Arena "voted" the same ballots "over
         and over again" on November 3, 2020;

said statements being within the jurisdiction of the Office of the Georgia Secretary of State and
the Georgia Bureau of Investigation, departments and agencies of state government, and county
and city law enforcement agencies, contrary to the laws of said State, the good order, peace and
dignity thereof;




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                                         COUNT 27 of 41

       And the Grand Jurors aforesaid, in the name and behalf of the citizens of Georgia, do
charge and                     J
            accuse DONALD OIﬂ'I TRUMP and JOHN CHARLES EASTMAN with the
offense of FILING FALSE DOCUMENTS, O.C.G.A. § 16-10-20.1(b)(1), for the said accused,
individually and as persons concerned in the commission of a crime, and together with
unindicted co-conspirators, in the County of Fulton and State of Georgia, on or about the 3lst
day of December 2020, knowingly and unlawfully ﬁled a document titled "VERIFIED
COMPLAINT FOR EMERGENCY INJUNCTIVE AND DECLARATORY RELIEF" in the
matter of Trump v. Kemp, Case 1:20-cv05310MHC, in the United States District Court for the
Northern District of Georgia, a court of the United States, having reason to know that said
document contained at least one of the following materially false statements:

    l. That "as many as 2,506 felons with an uncompleted sentence" voted illegally in the
        November 3, 2020, presidential election in Georgia;

    2   That "at least 66,247 underage" people voted illegally in the November 3, 2020,
        presidential election in Georgia;

    3   That "at least 2,423 individuals" voted illegally in the November 3, 2020, presidential
        election in Georgia "who were not listed in the State's records as having been registered
        to vote";

    4   That "at least 1,043 individuals" voted illegally in the N0vember 3, 2020, presidential
        election "who had illegally registered to vote using a postal ofﬁce box as their
        habitation";

        That "as many as 10,315 or more" dead people voted in the November 3, 2020,
        presidential election in Georgia;

   6o   That "[d]eliberate misinformation was used to instruct Republican poll watchers and
        members of the press to leave the premises for the night at approximately 10:00 pm. on
        November 3, 2020" at State Farm Arena in Fulton County, Georgia;

contrary to the laws of said State, the good order, peace and dignity thereof;




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                                         COUNT 28 of 41

       And the Grand Jurors aforesaid, in the name and behalf of the citizens of Georgia, do
charge and accuse DONALD JOHN TRUMP and MARK RANDALL MEADOWS with the
offense of SOLICITATION OF VIOLATION OF OATH BY PUBLIC OFFICER, O.C.G.A.
§§ 16-4-7 & 16-10-1, for the said accused, individually and as persons concerned in the
commission of a crime, and together with unindicted co-conspirators, in the County of Fulton
and State of Georgia, on or about the 2nd day of January 2021, unlawfully solicited, requested,
and importuned Georgia Secretary of State Brad Raffensperger, a public ofﬁcer, to engage in
conduct constituting the felony offense of Violation of Oath by Public Officer, O.C.G.A. § l6-
10-1, by unlawfully altering, unlawfully adjusting, and otherwise unlawfully inﬂuencing the
certiﬁed returns for presidential electors for the November 3, 2020, presidential election in
Georgia, in willful and intentional violation of the terms of the oath of said person as prescribed
by law, with intent that said person engage in said conduct, contrary to the laws of said State, the
good order, peace and dignity thereof;




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                                        COUNT 29 of 41

        And the Grand Jurors aforesaid, in the name and behalf of the citizens of Georgia, do
charge and accuse DONALD JOHN TRUMP with the offense of FALSE STATEMENTS
AND WRITINGS, O.C.G.A. § 16-10-20, for the said accused, in the County of Fulton and
State of Georgia, on or about the 2nd day of January 2021, knowingly, willfully, and unlawfully
made at least one of the following false statements and representations to Georgia Secretary of
State Brad Raffensperger, Georgia Deputy Secretary of State Jordan Fuchs, and Georgia
Secretary of State General Counsel Ryan Germany:

   1.   That anywhere from 250,000 to 300,000 ballots were dropped mysteriously into the rolls
        in the November 3, 2020, presidential election in Georgia;

   2.   That thousands of people attempted to vote in the November 3, 2020, presidential
        election in Georgia and were told they could not because a ballot had already been cast in
        their name;

   3.   That 4,502 people voted in the November 3, 2020, presidential election in Georgia who
        were not on the voter registration list;

   4.   That 904 people voted in the November 3, 2020, presidential election in Georgia who
        were registered at an address that was a post oﬁice box;

   5.   That Ruby Freeman was a professional vote scammer and a known political operative;

   6.   That Ruby Freeman, her daughter, and others were responsible for fraudulently awarding
        at least 18,000 ballots to Joseph R. Biden at State Farm Arena in the November 3, 2020,
        presidential election in Georgia;

   7.   That close to 5,000 dead people voted in the November 3, 2020, presidential election in
        Georgia;

   8.   That 139% of people voted in the November 3, 2020, presidential election in Detroit;

   9.   That 200,000 more votes were recorded than the number of people who voted in the
        November 3, 2020, presidential election in Pennsylvania;

   10. That thousands of dead people voted in the November 3, 2020, presidential election in
        Michigan;

   ll. That Ruby Freeman stuffed the ballot boxes;
   12. That hundreds of thousands of ballots had been "dumped" into Fulton County and
       another county adjacent to Fulton County in the November 3, 2020, presidential election
        in Georgia;




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    13. That he won the November 3, 2020, presidential election in Georgia by 400,000 votes;

said statements being within the jurisdiction of the Ofﬁce of the Georgia Secretary of State and
the Georgia Bureau of Investigation, departments and agencies of state government, contrary to
the laws of said State, the good order, peace and dignity thereof;



                                        COUNT 30 of 41

       And the Grand Jurors aforesaid, in the name and behalf of the citizens of Georgia, do
charge and accuse STEPHEN CLIFFGARD LEE, HARRISON WILLIAM PRESCOTT
FLOYD, and TREVIAN C. KUTTI with the offense of CONSPIRACY TO COMMIT
SOLICITATION OF FALSE STATEMENTS AND WRITINGS, O.C.G.A. §§ 16-4-8, 16-4-
7, & 16-10-20, for the said accused, individually and as persons concerned in the commission of
a crime, and together with unindicted coconspirators, in the County of Fulton and State of
Georgia, on or about the 4th day of January 2021, unlawfully conspired to solicit, request, and
importune Ruby Freeman, a Fulton County, Georgia, election worker, to engage in conduct
constituting the felony offense of False Statements and Writings, O.C.G.A. § 16-10-20, by
knowingly and willfully making a false statement and representation concerning events at State
Farm Arena in the November 3, 2020, presidential election in Georgia, said statement and
representation being within the jurisdiction of the Ofﬁce of the Georgia Secretary of State and
the Georgia Bureau of Investigation, departments and agencies of state government, and county
and city law enforcement agencies, with intent that said person engage in said conduct; and
TREVIAN C. KUTTI traveled to Fulton County, Georgia, and placed a telephone call to Ruby
Freeman while in Fulton County, Georgia, which were overt acts to effect the object of the
conspiracy, contrary to the laws of said State, the good order, peace and dignity thereof;


                                        COUNT 31 of 41

       And the Grand Jurors aforesaid, in the name and behalf of the citizens of Georgia, do
charge and accuse STEPHEN CLIFFGARD LEE, HARRISON WILLIAM PRESCOTT
FLOYD and TREVIAN C. KUTTI with the offense of INFLUENCING WITNESSES,
O.C.G.A. § 1610-93(b)(1)(A), for the said accused, individually and as persons concerned in
the commission of a crime, and together with unindicted co-conspirators, in the County of Fulton
and State of Georgia, on or about the 4th day of January 2021, knowingly and unlawfully
engaged in misleading conduct toward Ruby Freeman, a Fulton County, Georgia, election
worker, by stating that she needed protection and by purporting to offer her help, with intent to
inﬂuence her testimony in an official proceeding in Fulton County, Georgia, concerning events
at State Farm Arena in the November 3, 2020, presidential election in Georgia, contrary to the
laws of said State, the good order, peace and dignity thereof;




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                                           COUNT 32 of 41

           And the Grand Jurors aforesaid, in the name and behalf of the citizens of Georgia, do
charge and accuse SIDNEY KATHERINE POWELL, CATHLEEN ALSTON LATHAM,
SCOTT GRAHAM HALL, and MISTY HANIPTON with the offense of CONSPIRACY TO
COMMIT ELECTION FRAUD, O.C.G.A. §§ 21-2-603 & 21-2-566, for the said accused,
individually and as persons concerned in the commission of a crime, and together with
unindicted co-conspirators, in the County of Fulton and State of Georgia, on and between the 1st
day of December 2020 and the 7th day of January 2021, unlawfully conspired and agreed to
willfully tamper with electronic ballot markers and tabulating machines in the State of Georgia;

       And SIDNEY KATHERINE POWELL entered into a contract with SullivanStrickler
LLC in Fulton County, Georgia, delivered a payment to SullivanStrickler LLC in Fulton County,
Georgia, and caused employees of SullivanStrickler LLC to travel from Fulton County, Georgia,
to Coffee County, Georgia, for the purpose of willfully tampering with said electronic ballot
markers and tabulating machines, which were overt acts to effect the object of the conspiracy;

        And CATHLEEN ALSTON LATHAM, SCOTT GRAHAM HALL, and MISTY
HAMPTON aided, abetted, and encouraged employees of SullivanStrickler LLC in willfully
tampering with electronic ballot markers and tabulating machines while inside the Coffee County
Elections & Registration Ofﬁce in Coffee County, Georgia, which were overt acts to effect the
object of the conspiracy, contrary t0 the laws of said State, the good order, peace and dignity
thereof;




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                                         COUNT 33 of 41

       And the Grand Jurors aforesaid, in the name and behalf of the citizens of Georgia, do
charge and accuse SIDNEY KATHERINE POWELL, CATHLEEN ALSTON LATHAM,
SCOTT GRAHAM HALL, and MISTY HAMPTON with the offense of CONSPIRACY TO
COMMIT ELECTION FRAUD, O.C.G.A. §§ 21-2-603 & 21-2-574, for the said accused,
individually and as persons concerned in the commission of a crime, and together with
unindicted co-conspirators, in the County of Fulton and State of Georgia, on and between the 1st
day of December 2020 and the 7th day of January 2021, unlawfully conspired and agreed to
cause certain members of the conspiracy, who were not ofﬁcers charged by law with the care of
ballots and who were not persons entrusted by any such ofﬁcer with the care of ballots for a
purpose required by law, to posSess ofﬁcial ballots outside of the polling place in the State of
Georgia;

        And SIDNEY KATHERINE POWELL entered into a contract with SullivanStrickler
LLC in Fulton County, Georgia, delivered a payment to SullivanStrickler LLC in Fulton County,
Georgia, and caused employees of SullivanStrickler LLC to travel from Fulton County, Georgia,
to Coffee County, Georgia, for the purpose of causing certain members of the conspiracy, who
were not ofﬁcers charged by law with the care of ballots and who were not persons entrusted by
any such ofﬁcer with the care of ballots for a purpose required by law, to possess ofﬁcial ballots
outside of the polling place, which were overt acts to effect the object of the conspiracy;

    And CATHLEEN ALSTON LATHAM, SCOTT GRAHAM HALL, and MISTY
HAMPTON aided, abetted, and encouraged employees of SullivanStrickler LLC in accessing
election equipment while inside the Coffee County Elections & Registration Ofﬁce in Coffee
County, Georgia, for the purpose of causing certain members of the conspiracy, who were not
ofﬁcers charged by law with the care of ballots and who were not persons entrusted by any such
ofﬁcer with the care of ballots for a purpose required by law, to possess ofﬁcial ballots outside of
the polling place, which were overt acts to effect the object of the conspiracy, contrary to the
laws of said State, the good order, peace and dignity thereof;




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                                         COUNT 34 of 41

       And the Grand Jurors aforesaid, in the name and behalf of the citizens of Georgia, do
charge and accuse SIDNEY KATHERINE POWELL, CATHLEEN ALSTON LATHAM,
SCOTT GRAHAM HALL, and MISTY HAMPTON with the offense of CONSPIRACY TO
COMMIT COMPUTER THEFT, O.C.G.A. §§ 16-4-8 & 16-9-93(a), for the said accused,
individually and as persons concerned in the commission of a crime, and together with
unindicted co-conspirators, in the County of Fulton and State of Georgia, on and between the 1st
day of December 2020 and the 7th day of January 2021, unlawfully conspired to use a
computer with knowledge that such use was without authority and with the intention of taking
and appropriating information, data, and software, the property of Dominion Voting Systems
Corporation,

        And SIDNEY KATHERINE POWELL entered into a contract with SullivanStrickler
LLC in Fulton County, Georgia, delivered a payment to SullivanStrickler LLC in Fulton County,
Georgia, and caused employees of SullivanStrickler LLC to travel from Fulton County, Georgia,
to Coffee County, Georgia, for the purpose of using a computer with knowledge that such use
was without authority and with the intention of taking and appropriating information, data, and
software, the property of Dominion Voting Systems Corporation, which were overt acts to effect
the object of the conspiracy;

         And CATHLEEN ALSTON LATHAM, SCOTT GRAHAM HALL, and MISTY
HAMPTON aided, abetted, and encouraged employees of SullivanStrickler LLC in using a
computer with knowledge that such use was without authority and with the intention of taking
and appropriating information, data, and software, the property of Dominion Voting Systems
Corporation, while inside the Coffee County Elections & Registration Ofﬁce in Coffee County,
Georgia, which were overt acts to effect the object of the conspiracy, contrary to the laws of said
State, the good order, peace and dignity thereof;




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                                       COUNT 35 of 41

       And the Grand Jurors aforesaid, in the name and behalf of the citizens of Georgia, do
charge and accuse SIDNEY KATHERINE POWELL, CATHLEEN ALSTON LATI-IAM,
SCOTT GRAHAM HALL, and MISTY HAMPTON with the offense of CONSPIRACY TO
COMMIT COMPUTER TRESPASS, O.C.G.A. §§ 16-4-8 & 16-9-93(b), for the said accused,
individually and as persons concerned in the commission of a crime, and together with
unindicted co-conspirators, in the County of Fulton and State of Georgia, on and between the lst
day of December 2020 and the 7th day of January 2021, unlawfully conspired to use a
computer with knowledge that such use was without authority and with the intention of removing
voter data and Dominion Voting Systems Corporation data from said computer;

        And SIDNEY KATHERINE POWELL entered into a contract with SullivanStrickler
LLC in Fulton County, Georgia, delivered a payment to SullivanStrickler LLC in Fulton County,
Georgia, and caused employees of SullivanStrickler LLC to travel from Fulton County, Georgia,
to Coffee County, Georgia, for the purpose of using a computer with knowledge that such use
was without authority and with the intention of removing voter data and Dominion Voting
Systems Corporation data from said computer, which were overt acts to effect the object of the
conspiracy;

    And CATHLEEN ALSTON LATHAM, SCOTT GRAHAM HALL, and MISTY
HAMPTON aided, abetted, and encouraged employees of SullivanStrickler LLC in using a
computer with knowledge that such use was without authority and with the intention of removing
voter data and Dominion Voting Systems Corporation data from said computer, while inside the
Coffee County Elections & Registration Ofﬁce in Coffee County, Georgia, which were overt
acts to effect the object of the conspiracy, contrary to the laws of said State, the good order,
peace and dignity thereof;




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                                          COUNT 36 of 41

       And the Grand Jurors aforesaid, in the name and behalf of the citizens of Georgia, do
charge and accuse SIDNEY KATHERINE POWELL, CAT HLEEN ALST ON LATHAM,
SCOTT GRAHAM HALL, and MISTY HAMPTON withythe offense of CONSPIRACY T O
COMMIT COMPUTER INVASION OF PRIVACY, O.C.G.A. §§ 16-4-8 & 16-9-93(c), for
the said accused, individually and as persons concerned in the commission of a crime, and
together with unindicted co-conspirators, in the County of Fulton and State of Georgia, on and
between the lst day of December 2020 and the 7th day of January 2021, unlawfully conspired
to use a computer with the intention of examining personal voter data with knowledge that such
examination was without authority;

        And SIDNEY KATHERINE POWELL entered into a contract with SullivanStrickler
LLC in Fulton County, Georgia, delivered a payment to SullivanStrickler LLC in Fulton County,
Georgia, and caused employees of SullivanStrickler LLC to travel from Fulton County, Georgia,
to Coffee County, Georgia, for the purpose of using a computer with the intention of examining
personal voter data with knowledge that such examination was without authority, which were
overt acts to effect the object of the conspiracy;

       And CAT HLEEN ALSTON LATHAM, SCOTT GRAHAM HALL, and MISTY
HAMPTON aided, abetted, and encouraged employees of SullivanStrickler LLC in using a
computer with the intention of examining personal voter data with knowledge that such
examination was without authority, while inside the Coffee County Elections & Registration
Ofﬁce in Coffee County, Georgia, which were overt acts to effect the object of the conspiracy,
contrary to the laws of said State, the good order, peace and dignity thereof;




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                                          COUNT 37 of 41

        And the Grand Jurors aforesaid, in the name and behalf of the citizens of Georgia, do
charge and accuse SIDNEY KATHERINE POWELL, CATHLEEN ALSTON LATHAM,
SCOTT GRAHAM HALL, and MISTY HAMPTON with the offense of CONSPIRACY TO
DEFRAUD THE STATE, O.C.G.A. § 16-10-21, for the said accused, individually and as
persons concerned in the commission of a crime, and together with unindicted co-conspirators, in
the County of Fulton and State of Georgia, on and between the 1st day of December 2020 and
the 7th day of January 2021, unlawfully conspired and agreed to commit theft of voter data,
property which was under the control of Georgia Secretary of State Brad Raffensperger, a state
officer, in his ofﬁcial capacity;

       And SIDNEY KATHERINE POWELL entered into a contract with SullivanStrickler
LLC in Fulton County, Georgia, delivered a payment to SullivanStrickler LLC in Fulton County,
Georgia, and caused employees of SullivanStrickler LLC to travel from Fulton County, Georgia,
to Coffee County, Georgia, for the purpose of committing theft of voter data, property which was
under the control of Georgia Secretary of State Brad Raffensperger, a state officer, in his ofﬁcial
capacity, which were overt acts to effect the object of the conspiracy;

        And CATHLEEN ALSTON LATHAM, SCOTT GRAHAM HALL, and MISTY
HAMPTON aided, abetted, and encouraged employees of SullivanStrickler LLC in accessing
election equipment while inside the Coffee County Elections & Registration Ofﬁce in Douglas,
Georgia, for the purpose of committing theft of voter data, property which was under the control
of Georgia Secretary of State Brad Raffensperger, a state officer, in his ofﬁcial capacity, which
were overt acts to effect the object of the conspiracy, contrary to the laws of said State, the good
order, peace and dignity thereof;


                                         COUNT 38 of 41

        And the Grand Jurors aforesaid, in the name and behalf of the citizens of Georgia, do
charge and accuse DONALD JOHN TRUMP with the offense of SOLICITATION OF
VIOLATION OF OATH BY PUBLIC OFFICER, O.C.G.A. §§ 16-4-7 and 16-10-1, for the
said accused, in the County of Fulton and State of Georgia, on or about the 17th day of
September 2021, unlawfully solicited, requested, and importuned Georgia Secretary of State
Brad Raffensperger, a public officer, to engage in conduct constituting the felony offense of
Violation of Oath by Public Oﬁicer, O.C.G.A. § 16-101, by unlawfully "decertifying the
Election, or whatever the correct legal remedy is, and announce the true winner," in willful and
intentional violation of the terms of the oath of said person as prescribed by law, with intent that
said person engage in said conduct, contrary to the laws of said State, the good order, peace and
dignity thereof;




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                                         COUNT 39 0f 41

       And the Grand Jurors aforesaid, in the name and behalf of the citizens of Georgia, do
charge and accuse DONALD JOHN TRUMP with the offense of FALSE STATEMENTS
AND WRITINGS, O.C.G.A. § 16-10-20, for the said accused, in the County of Fulton and
State of Georgia, on or about the 17th day of September 2021, knowingly, willfully, and
unlawfully made the following false statement and representation to Georgia Secretary of State
Brad Raffensperger:

    l. "As stated to you previously, the number of false and/or irregular votes is far greater than
         needed to change the Georgia election result";

said statement being within the jurisdiction of the Oﬁice of the Georgia Secretary of State and
the Georgia Bureau of Investigation, departments and agencies of state government, and county
and city law enforcement agencies, contrary to the laws of said State, the good order, peace and
dignity thereof;


                                         COUNT 40 of 41

       And the Grand Jurors aforesaid, in the name and behalf of the citizens of Georgia, do
charge and accuse DAVID JANIES SHAFER with the offense of FALSE STATEMENTS
AND WRITINGS, O.C.G.A. § 16-10-20, for the said accused, in the County of Fulton and
State of Georgia, on or about the 25th day of April 2022, knowingly, willfully, and unlawfully
made at least one of the following false statements and representations in the presence of Fulton
County District Attorney's Office investigators:

    1.   That he "attended and convened" the December 14, 2020, meeting of Trump presidential
         elector nominees in Fulton County, Georgia, but that he did not "call each of the
         individual members and notify them of the meeting or make any of the other preparations
         necessary for the meeting";

   2. That a court reporter was not present at the December 14, 2020, meeting of Trump
      presidential elector nominees in Fulton County, Georgia;

said statements being within the jurisdiction of the Fulton County District Attorney's Ofﬁce, a
department and agency of the government of a county of this state, contrary to the laws of said
                                                                                        '




State, the good order, peace and dignity thereof;




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                                        COUNT 41 of 41

       And the Grand Jurors aforesaid, in the name and behalf of the citizens of Georgia, do
charge and accuse ROBERT DAVID CHEELEY with the offense of PERJURY, O.C.G.A. §
16-10-70(a), for the said accused, in the County of Fulton and State of Georgia, on or about the
15th day of September 2022, knowingly, willfully, and unlawfully made at least one of the
following false statements before the Fulton County Special Purpose Grand Jury, a judicial
proceeding, after having been administered a lawﬁll oath:

    l. That he was unaware of the December l4, 2020, meeting of Trump presidential elector
       nominees in Fulton County, Georgia, until after the meeting had already taken place;

   2   That he had no substantive conversations with anyone concerning the December l4,
       2020, meeting of Trump presidential elector nominees in Fulton County, Georgia, until
       after the meeting had already taken place;

   3   That he never suggested to anyone that the Trump presidential elector nominees in
       Georgia should meet on December l4, 2020;

   4   That the only communication he had with John Eastman concerning the November 3,
       2020, presidential election was for the purpose of connecting Eastman to Georgia Senator
       Brandon Beach and unindicted co-conspirator Individual 8, whose identity is known to
       the Grand Jury, for possible legal representation;

   5   That he never worked to connect John Eastman with any Georgia legislators other than
       Georgia Senator Brandon Beach and unindicted coconspirator Individual 8, whose
       identity is known to the Grand Jury;

said statements being material to the accused's own involvement in the December l4, 2020,
meeting of Trump presidential elector nominees in Fulton County, Georgia, and to the accused's
communications with others involved in said meeting, the issues in question, contrary to the laws
of said State, the good order, peace and dignity thereof.


                                                           FANI T. WILLIS, District Attorney




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                                           WITNESS LIST

Asst. Chief Inv. M. Hill   
                               FCDA DA14

Sr. Inv. T. Swanson-Lucas      
                                   FCDA DA72




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